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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION

MELANIE BECKEMEYER,                            ][   CASE NO. 1:17-cv-00695
                                               ][
                Plaintiff,                     ][   JUDGE BARRETT
                                               ][
        v.                                     ][
                                               ][   AFFIDAVIT OF ANDREW SAXON,
GELCO CORPORATION, etc.,                       ][   M.D.
                                               ][
                Defendant.                     ][
                                               ][
                                               ][


        I, Andrew Saxon, M.D., having been duly sworn do here hereby swear, affirm, depose and
state as follows:


1. Background education, experience, and training relevant to expertise in this case.

I am a licensed physician in the State of California specializing in the area of Clinical
Immunology & Allergy. I am the founder and emeritus chief of the Division of Clinical
Immunology and Allergy at the UCLA School of Medicine, Los Angeles, California. I am
currently a Professor of Medicine at the David Geffen School of Medicine at UCLA.


I received my medical degree from Harvard Medical School in Boston, Massachusetts, in 1972. I
completed my residency in internal medicine at Harbor General Hospital in Los Angeles,
California, in 1975, and my post-doctoral training in immunology in the Department of
Microbiology and Immunology at the UCLA School of Medicine in 1977. I am a licensed
physician in California through the National Board of Medical Examiners. I am board certified in
(1) Internal Medicine by the American Board of Internal Medicine, (2) Allergy and Immunology
by the American Board of Allergy and Immunology, and (3) Diagnostic Laboratory Immunology
by the American Board of Diagnostic Laboratory Immunology. I founded the Division of
Clinical Immunology and Allergy in the Department of Medicine at UCLA in 1977 and served
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as its Chairman for 30 years. I also founded the UCLA Asthma, Allergy, and Immunologic
Disease Center and served as Director until the time of my retirement. I have published over 190
scientific papers in peer-reviewed journals in the field of immunology and I provide many
editorial/review services for such journals including being Editor in Chief of Clinical
Immunology, the official journal of the Clinical Immunology Society for over a decade. I also
have served on peer-review funding committees for the National Institutes of Health and other
organizations as well as chair the Allergy/Asthma section of the Immune Tolerance Network, a
major undertaking by the National Institutes of Health and private institutions to discover true
cures for immune mediated disorders.


I am a co-author of the American College of Occupational & Environment Medicine (ACOEM)
original Position Statement entitled: Adverse Human Health Effects Associated with Molds in
the Indoor Environment that appeared in 2002. ACOEM represents more than 6,000 physicians
and other health care professionals and is the nation's largest medical society of individuals
specializing in the field of occupational and environmental medicine. I am also a co-author of the
American Academy of Allergy Asthma and Immunology’s (AAAAI) official Position statement
entitled “The Health Effects of Molds” which appeared in 2006. The AAAAI, with over 5000
members, is the nation’s largest medical subspecialty society specifically dealing with the
allergic and immune aspects of mold exposures.


Further elaboration of my professional background, prior publications and credentials is given in
the attached true and correct copy of my curriculum vitae and bibliography (Exhibit “1”).


2. Data/material reviewed and relied upon in forming opinions.

 A.    The basis of my testimony includes my education, clinical and basic science training,
       experience, and review of both basic and clinical studies regarding humans and the
       immune system. This includes basic studies performed in the test tube and in animals
       regarding mold and related substances, my own research in human and animal immune
       reactivity, review of the exhibits, depositions and opinions of identified plaintiff experts,
       my extensive reading in the areas of immunology which includes allergy, autoimmunity,
       cancer of the immune system (lymphomas), and related areas, and my clinical experience
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     including the diagnosis and management of patients with immunologically related
     disorders.

B.   Included in this is extensive analysis of the literature relating to mold/fungal related
     illness in humans including the Institute of Medicine’s 2004 Publication “Damp indoor
     spaces and Health”, the American College of Medical Toxicology’s Statement in Support
     of the Institute of Medicine’s report and the 2009 World Health Organization (2009)
     “Guidelines for Indoor Air Quality: Dampness and Mould.” I am also relying upon the
     2017 Association of Scientific Medical Societies guideline, “Medical diagnostics for
     indoor mold exposure, the Position Statement of the American College of Occupational
     and Environmental Medicine promulgated by the Society in 2011 and the 2006 Position
     Statement of the American Academy of Allergy, Asthma and Immunology, Asthma and
     Immunology

C.   I am also relying upon my analysis of the case-specific materials provided to me. This
     includes:
     C1. Medical records of the plaintiff Melanie Ann Beckemeyer PharmD from the
        following sources that span the timeframe March 2001 through July 2018.
        •   Allergy and Asthma Specialty Group.
        •   Bernstein Allergy Group.
        •   Bethesda Alcohol and Drug Treatment (no records)
        •   Huber personalized medicine (Dr. Gray Huber, Integrative Medicine)
        •   Kroger Little Clinic.
        •   Liberty Urgent Care.
        •   Dr. Harold T. Pretorius.
        •   Plaintiff produced 2315 pages of medical documents that include the records of
            Dr. Craig P. Cleveland.
        •   Blue Ash Family Medicine
        •   Report of Richard Sexton, PhD of April 2017.
     C2. Environmental records
        •   The Report of Jeremy Porter, PMP dated 11.6.18
        •   Report from Ecostratum dated 7.25.18 for vehicle testing on 7.9.18

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         C3. Legal Documents
            •   Complaint filed in this matter.
            •   Discovery responses filed in this matter
            •   Depositions of Ms. Melanie Beckemeyer, PharmD. dated 9.27.18 and 11.5.18
            •   Expert Report of Dr. Scott McMahon in Beckemeyer vs. GELCO 8.31.18
            •   Expert Report of Dr. Scott McMahon in Fleming v Baker 3.29.17
            •   Deposition Testimony of Dr. Scott McMahon in Fleming v Baker 4.7.17
            •   Depositions of Scott W. McMahon in Courcelle v. CW NOLA PROPERTIES
                dated 8.18.17 and 5.18.18
            •   Declaration Of Scott W. Mc Mahon, MD in Courcelle v. CW NOLA Properties
                Dated 8.15.17
            •   United States District Court Western District of Washington At Seattle, Court
                order 16356136 dated 8.13.15 in Haneet Kumar, et al., v. Williams Portfolio 7,
                Inc.


3. The basis for my opinions.

The basis of my opinions in this in this case includes my; education, training in basic sciences and
medicine, experience in general as board-certified specialist in internal medicine, allergy and
immunology, and diagnostic laboratory immunology and as specifically related to mold and
mycotoxin exposure, review. It also include my analysis of published peer reviewed and accepted
literature on the effects of molds and mycotoxins on a broad range of mammalian species including
humans, general knowledge of the adverse effects of chemicals, bacteria, molds, and toxins on
mammalian species including humans, and records reviewed in this case as outlined in item #2
above.


4. Overview of mold.

Mold and mold spores (reproductive parts released by molds) are ubiquitous in the air and soil in all
environments and settings. Molds fill every ecological niche on earth with the types and levels of
specific molds varying with climatic conditions. Molds grow best in warm, damp, and humid
conditions, and spread and reproduce by making spores. Molds serve a critical role in the


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recycling of organic materials without which life on this planet could not be sustained. Estimates of
the number of mold species range from tens of thousands to a hundred thousand or more.
Mycotoxins are small non-volatile (i.e. not gaseous) chemicals that are byproducts produced by a
limited number of mold species and are only produced by those molds under certain conditions,
i.e. they are not constitutively produced. For example, of the over 500 species in the Genus
Aspergillus, less than 20 produce its major mycotoxin, aflatoxin. Various mycotoxins in low
levels are present throughout the food chain due to mold growing on crops.


5. Mechanism of adverse effects from mold and mold byproducts.

Adverse health effects from mold and their byproducts occur via three main mechanisms:
Immune, Infectious and Irritant/Toxic. Each of these can be addressed in terms of whether Ms.
Beckemeyer had/has evidence for an adverse health effect from mold.

  A.   Immune effects: There are three immune mediated diseases related to molds.
        First is typical inhalant “allergy” that causes allergic rhinitis and allergic asthma and
        occurs in genetically predisposed persons who make up about 40% of the population.
        These allergic airway symptoms are due to the result of the production of IgE (allergic)
        antibodies to ubiquitous aeroallergens such as pollens, animal dander, dust mites or
        mold spores. Allergy to mold occurs in about 10% of the population. The other two
        forms of immune adverse health effect from exposure to mold or mold byproducts are
        rare conditions known as allergic bronchopulmonary aspergillosis (ABPA) and
        hypersensitivity pneumonitis in which there is an overly strong immune response in the
        lung to the harmless mold spores that lead to a pneumonia -like picture.


        Whether Ms. Beckemeyer has an allergy to mold among other allergies to inhalants is
        unclear from the data in her records (discussed below). Even if she does, such an allergy
        would not account the vast spectrum of her symptoms nor their persistence. There is no
        indication of Ms. Beckemeyer having ABPA or hypersensitivity pneumonitis.

 B.    Infection: Molds commonly cause superficial infections such as toenail or skin infections
       (ringworm). Four unusual molds in specific outdoor geographic regions cause serious
       infections – primarily pneumonias. However, in profoundly immunocompromised


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     persons, e.g. those on chemotherapy or following bone marrow transplantation, a host of
     common molds can cause serious infections. None of these mold infection issues relate
     to one’s indoor residence or vehicle.


     Ms. Beckemeyer has had no mold infections. In fact, the records do not even reflect that
     she has had problems with common superficial mold infections such as toenail or skin
     infections. I would add that any oral or vaginal candida infections she may have had were
     due to a yeast, Candida albicans that is not a mold. That yeast is resident on normal
     mucosal surfaces in humans but overgrows to become an infection under a variety of
     circumstances unrelated to ambient environmental conditions.

C.   i. Irritant effects:
     Irritant effects from mold can result from inhalation of a very large concentration of mold
     particulates in the air wherein the spores essentially become nuisance dust. Levels in the
     millions of spores/m3 or more would be required for this effect, levels far beyond
     anything found in the vehicle in question. Additionally, in high enough concentrations,
     mold derived volatile organic compounds (VOCs), e.g. gasses that smell and give rise to
     the musty odor associated with mold, can cause local irritant effects, usually of the wet
     membranes of the eye, nose and mouth. However, VOC irritant effects generally occur at
     levels hundreds to thousands of times higher than the odor threshold. Furthermore, even
     if a person had had some local irritant effects from VOCs, albeit there is no data to
     support that supposition, such effects would have been transient by definition, and would
     have disappeared within a week or two of Ms. Beckemeyer no longer being in the vehicle
     in question.


     ii. Toxic effects: Toxic effects from inhalation of airborne mold spores in a residential
     setting or a motor vehicle essentially does not occur. This is simply a result of dose
     considerations; i.e. i.) the number of spores a person can inhale, ii.) the toxicity of
     mycotoxins on molar basis, iii.) the maximum amount of mycotoxin per spore (Kelman
     BJ, et al. Int J Toxicol. 23:3-10, 2004,), iv.) the half-life of mycotoxins in humans, and
     v.) the no observed effect level (NOEL) for even the most potent mycotoxins (Hardin
     BD, et al. J. Toxicol. Environ. Health A. 72:585-98, 2009. The calculations from these

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       studies suggests that even under the worst extreme scenario (all mold spores making the
       most potent known mycotoxin, inhalation of maximum amount 24/7, all spores breathed
       deposited and 100% of toxin absorbed) for an adult, it would take between 30,000 to
       >1,000,000 spores/m3 of these spores to have an adverse health effect. Compare that to
       the level of spores found by the Plaintiff’s CIH in the vehicle air in 2018 - the
       airborne/respirable levels had a total 1300 spores/m3 with the majority were harmless
       mushroom spores, i.e. basidiospores. Of the mold spores found in the air, only those of
       Chaetomium (27 spores/m3) are associated with mycotoxin production. Thus the level of
       potential mycotoxin producing spores in the vehicle when tested was thousands of times
       below that at which any toxin related adverse health effect might occur.


       As opposed in inhalation, ingestion of mycotoxins in food is a daily occurrence as
       various mycotoxin-producing molds grows on foodstuffs, e.g. peanuts, cereals, cheese
       etc., during their production. Indeed, the FDA and European Union has established limits
       for certain mycotoxin levels in foods. The level of mycotoxins in human food is generally
       quite low and of no health concern. However, there are occasionally outbreaks of
       mycotoxin poisoning in populations when starving persons have little option but to eat
       highly spoiled food.


       Given the factors discussed above in this section, it is not tenable to propose more likely
       than not that irritancy or toxicity resulting from inhalation of mold spores or their
       byproducts in the air from the vehicle in question as causing Ms. Beckemeyer’s
       symptomatology.

   Overall, the generally accepted mechanisms for mold and/or mold byproduct induced adverse
   health effects are not quantitatively or qualitatively relevant to Ms. Beckemeyer’s primary
   medical issues, i.e. her complaints do not even potentially relate to the generally accepted
   mechanisms of mold induced adverse health effects other than possibly some mild upper
   airway allergy.

6. Medical issues that Ms. Berkemeyer had/has as related to her complaints in this matter.

Hypertension - high blood pressure with secondary cognitive issues secondary to small vessel

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ischemic changes. Ms. Beckemeyer has had high blood pressure since at least 2001 and has been
maintained on long-term anti-hypertensive medication (Irbesartan most recently). Common side
effects of Irbesartan include dizziness, fatigue, indigestion, diarrhea and heartburn. An MRI of
her brain on 6.13.17 showed “microangiopathic white matter disease consistent with chronic
small vessel ischemia, most often seen in manifestation of hypertensive atherosclerosis or
metabolic factors.” There was also mild right greater than left hippocampal atrophy that
potentially may correlate with memory symptoms possibly related to early manifestation of mild
cognitive impairment syndrome.


Ms. Beckemeyer has long-standing hypertension with underlying microvascular brain changes
resulting in a mild impairment of certain cognitive functions, a very common scenario in a 63-
year-old person. Another factor driving in Ms. Beckemeyer’s cognitive complaints is her
response to anxiety/stress as discussed below.


Anxiety, Panic Attacks and Depression with Somatic Symptom Disorder. Ms. Beckemeyer
records show that she has had problems with depression, anxiety and panic attacks since
September of 2011, long before the alleged exposure in this case. At that time, she reported she
felt that “she cannot complete tasks that require organization and higher levels of cognition in a
reasonable amount of time due to ongoing anxiety.” She was begun on an anti-depressant
Celexa and was on it through 7.1.16. By mid-2017, Ms. Beckemeyer had developed a whole
panoply of ongoing symptoms that she felt were related to her exposure to the vehicle in question
which had ended in September 2016. The symptoms she reported included disturbed sleep,
fatigue, joint pain/swelling, bladder problems, buzzing/ringing/ear pain, blurry vision,
disorientation, forgetfulness, loss of libido, unexplained hair loss, vertigo, confusion, difficulty
with concentration, and swollen glands. She endorsed mood swings/irritability/depression at that
time as well.


Ms. Beckemeyer has a generalized anxiety disorder with panic attacks and major depressive
illness. Notably, when anxious in the past prior to the alleged exposure, she reported cognitive
symptoms very similar to what she reports now. Her long standing anxiety/mood issues color
and magnify her symptoms, e.g. fatigue from medications, cognitive changes etc. as well drive

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such symptoms on their own as such mood issues do in all patients. Ms. Beckemeyer appears to
have developed a somatic symptom disorder focused on her belief about the injury she received
from her mold exposure in the vehicle in question.

Treatment with thyroid hormone. Ms. Beckemeyer has been on thyroid hormone replacement
medication for many years for unclear reasons. Ms. Beckemeyer’s medical records also show
that in 2017 she was taking too much thyroid hormone as documented by her very low TSH.


If Ms. Beckemeyer actually does have underlying thyroid disease, which is not evident, it was
pre-existing and any thyroid issues she may have are not related to exposure to mold, mold
byproducts or ambient bacteria. Overtreatment with thyroid hormone as documented in 2017 will
have made her hypertension and her anxiety worse.

Vertigo/disequilibrium/dizziness. Ms. Beckemeyer reports she first had problems with vertigo
and disequilibrium when she was diagnosed with Meniere’s disease in her 30s. On 9.18.15, Ms.
Beckemeyer saw her primary care physician complaining of ear pressure and being off balance
that she described as feeling “swimmy.” She was treated for presumed eustachian tube
dysfunction. On 9.29.15, Ms. Beckemeyer was seen in urgent care complaining of problems
with wooziness and vertigo. All this was before the alleged exposure. Then in September of
2016, she complained of increasing light-headedness and dizziness. Over the ensuing months,
she had an extensive work up for this including a neuro-otology consultation and no specific
etiology was found for her complaints of light-headedness and dizziness.


Ms. Beckemeyer’s more recent complaints of feeling dizzy and lightheaded are most likely a
manifestation of both her microvascular CNS disease that is secondary to her long standing
hypertension and her long standing anxiety/stress.

Upper Respiratory and external ocular symptoms: Ms. Beckemeyer saw an allergist in 2001and
reported that she had had “allergies” for more than 10 years, clearly long predating her alleged
mold exposure. Ms. Beckemeyer had allergy testing in 2004 but the test records are incomplete
and uninterpretable. Ms. Beckemeyer had epicutaneous allergy testing on 12.27.16 with only the
molds Epicoccum and Fusarium recorded as “positive” at 3+ but there is no reading scale for
these tests nor was there a record of the necessary positive (histamine) and negative (saline)

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control results, which makes them open to question.

The accessible data are uninterpretable as to whether Ms. Beckemeyer is an allergic (atopic)
person with allergic rhinitis and allergic conjunctivitis given the problematic test results. Ms.
Beckemeyer does not have asthma, allergic or otherwise. I would not rely upon the available
allergy test results to make or exclude a diagnosis of inhalant allergy. This could be resolved by
Ms. Beckemeyer undergoing reliable allergy blood testing done with the ImmunoCap II or
equivalent third generation allergy blood testing. Even if Ms. Beckemeyer is an allergic subject
and the epicutaneous testing is presumed to be accurate, the only allergens identified by this
testing were Epicoccum and Fusarium. These were not found in the air in the vehicle and any
exposure to these in the vehicle in question would have been far less than her exposure from air
outside her vehicle as discussed in Mr. Porter’s report.

7. Use of Differential Diagnosis to establishing general and specific causation and “Chronic
Immune Response Syndrome” or “CIRS.”

   A. Differential Diagnosis: Differential diagnosis is the medical parallel of the scientific
   method in which one makes a hypothesis, tests that hypothesis experimentally and then
   rejects or accepts the hypothesis. The “differential diagnosis” is a list of likely generally
   accepted medical conditions, given the evidence in hand, with the working diagnosis
   (hypothesis as to what is wrong with the patient) being the most likely choice based on the
   currently available data. The physician then gathers valid scientific data (additional history,
   physical findings and/or laboratory tests to confirm or exclude that leading diagnosis.


   On page 18 of his report, Dr. McMahon alleges he applies “differential diagnosis” to arrive at
   his final diagnostic impression of Ms. Beckemeyer having “Chronic Immune Response
   Syndrome” or “CIRS” as the overarching cause of her multitude of complaints. However, the
   record in this matter clearly demonstrates that Dr. McMahon is not using differential
   diagnosis in a valid or acceptable fashion. Thus while he claims to exclude other appropriate
   causes before reaching his conclusion, this is not the case. A cogent example of Dr.
   McMahon’s failure to use differential diagnosis appropriately is Dr. McMahon’s dismissal of
   hypertension as playing a role in Ms. Beckemeyer’s symptoms. However, her testing shows
   changes indicative of microangiopathic changes in the brain that are common in hypertension

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  and that is generally accepted to cause in mild cognitive impairment. Instead, Dr. McMahon
  ascribes her neurocognitive issues to “CIRS” Another cogent example is Dr. McMahon’s
  failure to appropriately consider Ms. Beckemeyer’s pre-existing and long standing
  generalized anxiety disorder and depression in the genesis of her multiple somatic
  complaints. Generalized anxiety disorder and depression are the two most common forms of
  psychiatric illness in our populations. These disorders commonly give rise to multiple
  somatic symptoms as had been reported by Ms. Beckemeyer five years before her alleged
  exposure. Dr. McMahon again simply ascribes her multiple somatic symptoms to “CIRS”, a
  concept that is not-generally accepted.


  Thus Dr. McMahon, while ignoring/dismissing appropriate diagnoses, focuses with laser-like
  certainly on a single all-encompassing not-generally accepted pseudo-diagnosis of CIRS. In
  doing so, Dr. McMahon is not performing differential diagnosis as it is generally accepted in
  medicine. By not following the accepted procedure of differential diagnosis, Dr. McMahon
  comes to conclusions that cannot be relied upon in making his diagnosis of so-called “CIRS”.


  Dr. McMahon says that there is no other single entity other than CIRS that could be
  responsible for Ms. Beckemeyer’s entire myriad of complaints. This proposition is based on
  a false premise; one need not have a single true pathophysiologic disease that encompasses
  all of a patient’s medical issues. Indeed, as discussed earlier in Section 6, Ms. Beckemeyer
  has a number of distinct medical issues, each of which needs to be addressed individually.
  Such a set of different disease processes is typical for 60-year-old individuals.

  B. CIRS is not a generally accepted medical condition. The lack of validity of the CIRS as a
  valid medical entity is discussed at length in section IIID of my report (Alternative/fringe
  health care and pseudo-diagnosis of Chronic Inflammatory Response Syndrome, aka “CIRS”,
  Exhibit 3). Briefly, CIRS was invented by a former practicing family physician, Dr. Richie
  Shoemaker. Much of Dr. McMahon report is simply a recitation of the ideas put forth by Dr.
  Shoemaker who for years has been marketing himself and his “patent pending” diagnosis of
  CIRS (United States Patent Application Publication, Pub. No.: US 2014/0046143 A1
  Shoemaker et al., Pub. Date: Feb. 13, 2014, Methods For Diagnosing, Treating, And
  Monitoring Chronic Inflammatory Response Syndrome). This alleged condition that Dr.

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  McMahon currently calls Chronic Immune Response Syndrome or CIRS is not a generally
  accepted entity in the medical community. CIRS is a diagnosis that is unique to Dr.
  Shoemaker and his followers such as Dr. McMahon.


  As proposed by Dr. Shoemaker and regurgitated by Dr. McMahon, neither of whom has had
  any formal post graduate education or training in immunology, clinical immunology or
  internal medicine, CIRS is an sustained uncontrolled activation of the innate immune system
  due to indoor and only indoor exposure to any of a host of potential microbes/microbial
  products. Additionally, they propose that exposure to such microbes/microbial products in
  the future will lead to enhanced exacerbations of subjects’ CIRS. The claim that CIRS is a
  self- sustaining reaction of the innate immune system is a fatally flawed idea that is in direct
  conflict with what is known about the human innate immune response. The battery of tests
  Dr. McMahon uses to support his diagnosis of CIRS are not generally accepted methodology
  for any purpose in clinical medicine much less for the purpose for which he employs them.
  Dr McMahon’s claim there is no detectable lower limit for an exposure that can induce CIRS
  and that immune responses in CIRS and in immunology in general fail to follow dose
  response relationships is profoundly mistaken and in direct contrast what is known. All
  medicine including toxicology and immunology involve a dose response. Additionally, the
  claim by Dr. McMahon and other CIRS proponents that CIRS only occurs with indoor
  exposure is completely illogical. The literature that Dr. McMahon cites as actually
  supporting his opinions regarding CIRS has been generated by Drs. Mahan, Shoemaker and
  their colleagues while true experts in the relevant fields do not generally accept their work as
  reliable. Dr. McMahon’s belief that CIRS can explain everything that troubles Ms.
  Beckemeyer (or anyone else) is based on the fact the hypothetical construct of CIRS that has
  no boundaries. As a result, the rubric of CIRS, such as it is, can be applied to any person to
  explain all alleged issues, i.e. is all-encompassing, and becomes meaningless it does not
  represent a separately definable disease process.


  Thus, we have Dr. Scott McMahon, a pediatrician in Roswell, New Mexico, reporting that he
  has seen hundreds of patients who he has diagnosed with CIRS, an alleged immune mediated
  disorder from indoor (and only “indoor”) exposure to mold/dampness. Yet no certified

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    clinical immunologist has ever vetted this diagnosis. So is there really an epidemic of CIRS
    in Roswell, New Mexico? Or is Dr. McMahon, by using “differential diagnosis” in a way
    that is generally not accepted, the cause of this “CIRS epidemic?”

8. General causation

As discussed earlier in Section 5, mold and/or mold byproducts and dampness related organisms
can cause a limited known adverse health outcomes/medical issues. However, those generally
accepted medical effects are not the primary health effects at issue here. At issue in this matter is
whether mold/mold byproducts and/or dampness related organisms cause 1) non-infectious
neurological conditions including cognitive impairment, 2) generalized somatic symptoms, e.g.
fatigue, and/or 3) dizziness/vertigo. The reliable medical literature clearly does not support such
conclusions. This is nicely summarized in the analyses of the Institute of Medicine (IOM), “Damp
indoor spaces and Health” (Exec summary Table ES-1 and ES2, Exhibit “2”), the World Health
Organization “Guidelines for Indoor Air Quality: Dampness and Mould.” and the Association of
Scientific Medical Societies Guideline publication. None of those authoritative documents found
even an association between mold or dampness exposure and neurological or generalized
somatic symptoms (or a host of other health outcomes.) Indeed the IOM found “Inadequate or
Insufficient Evidence to Determine Whether an Association Exists” for these endpoints. This is in
contrast to respiratory symptoms where there was “Sufficient Evidence of an Association” though
the IOM did not feel the data reached the level of “Sufficient Evidence of a Causal Relationship.”


9. Specific causation

Given that there is no basis for general causation for mold, mold byproducts and/or dampness
related organisms with non-infectious adverse health outcomes except an association for respiratory
outcomes, specific causation of Ms. Beckemeyer’s non-respiratory issues is moot. Furthermore,
there are well-accepted causal relationships between her known medical conditions (discussed in
Section 6) and her complaints. In terms of Ms. Beckemeyer’s respiratory complaints and her
alleged exposure in 2016, specific causation cannot be established to a reasonable degree of
medical probability given the lack of valid data in that regard both in terms of the diagnosis of
allergy and the potential exposures as discussed in Section 6 and Section 10. To propose that Ms.
Beckemeyer had respiratory symptoms based on alleged exposures in 2016 would be purely


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speculative. Furthermore, even if Ms. Beckemeyer were to have had some increased respiratory
symptoms related to 2016 alleged exposure, those symptoms would have been resolved within
weeks of terminating the alleged exposure.


10. Exposure data

The relevant metric for potential human exposure to mold/mold byproducts and subsequent dose
calculations is sampling of respirable air. While testing for molds and their byproducts on
surfaces in a vehicle or home or inside walls may have relevance for remediation efforts, there is
no way to determine or even estimate the levels of human exposure from such sources and to
attempt to do so is speculation and not generally accepted methodology for assessing human
exposure. Similarly, the respirable air sampling must be in a relevant timeframe in terms of when
the individual was in the location sampled. One cannot sample locations months or years after
the individual was there and say what was present when the subject was there.


There are no data regarding mold or other microbial materials in vehicle in question during Ms.
Beckemeyer’s period of use in 2016 much less any data that the amounts were at a level sufficient
to cause an adverse human health effect. It is impossible to try to derive a valid opinion as to Ms.
Beckemeyer’s vehicular exposure based on data obtained twenty-two months or later after her last
known use. Yet this is what Dr. McMahon has inappropriately done. He has no scientific basis for
opining about the mold levels in the vehicle while Plaintiff used it in 2016. Dr. McMahon forms an
invalid opinion based on data from 2018 testing data and the Plaintiff’s subjective report of
symptoms during her use in 2016. Defining exposure based on symptoms as Dr. McMahon has
done is known as “backwards toxicology”, a classic error made by those with no real expert
knowledge of toxicology. Dr. McMahon’s attempt to “reverse extrapolate” the presence of mold
and/or mold levels in the vehicle is fatally flawed as it is not based on accepted methodology for
determining specific causation and as a result his opinions in this regard are invalid and cannot be
relied upon.


11. Conclusion

It is my opinion to a reasonable degree of medical probability, based upon the records and
documents available to me, that there is no valid objective evidence to support Plaintiff’s allegation
                                                  14
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                        Exhibit 1
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May 2018                                                   CURRICULUM VITAE, Andrew Saxon, M.D.

                                      Andrew Saxon, M.D.

Professor of Medicine                                    President, Secretary, & Founder
Chief Emeritus                                           Sixal Incorporated
Clinical Immunology/Allergy
Department of Medicine                                   Board of Directors, PADI Foundation
UCLA School of Medicine
52-221 Center for the Health Sciences                    Advisory Board, Summit Street Medical
Los Angeles, CA 90095-1690
Tel: (310) 367-9736 Fax: (310) 206-8622                  Scientific Advisory Board, Stellar Biotech.
Email: asaxon@mednet.ucla.edu


EDUCATION:

o   Graduate, Deerfield Academy, Deerfield, Massachusetts, 1964
       Cum Laude Society, 1963, 1964
       Bausch and Lomb Science Award, 1964
o   A.B., Anthropology, Dartmouth College, Hanover, New Hampshire, 1968
       Phi Beta Kappa, 1968
       A.B. Magna Cum Laude
       Distinction in Anthropology
       Founding Fathers Scholar and Scholarship
o   Archaeology/Anthropology (First Class Honors), University of Otago
       Dunedin, New Zealand, 1967
o   B.M.S., Dartmouth Medical School, Hanover, New Hampshire, 1970
       Dean's Medal as First in Class
o   M.D., Harvard Medical School, Boston, Massachusetts, 1972
       Boylston Society, 1971 - 1972

POSTGRADUATE TRAINING:

o Intern, Straight Medicine, Harbor General Hospital
      Los Angeles, California, 1972 - 1973
      Outstanding Medical Intern Award
o Resident, Internal Medicine, Harbor General Hospital
      Los Angeles, California, 1973 - 1975
o Postdoctoral Scholar in Immunology
      Department of Microbiology and Immunology
      UCLA School of Medicine
      Los Angeles, California, 1975 - 1977

CERTIFICATION AND LICENSING:

o   National Board of Medical Examiners (#126793), June 1973
o   Licentiate (#G24948), State of California, July 1973
o   Diplomate American Board of Internal Medicine (#49823), June 1975
o   Diplomate American Board of Allergy and Immunology (#1967), October 1979
o   Diplomate American Board of Diagnostic Laboratory Immunology (#0134), October 1990
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May 2018                                                       CURRICULUM VITAE, Andrew Saxon, M.D.

PUBLICATIONS

o    Approximately 190 peer-reviewed research publications


PATENTS

o    Approximately 10 related to development of agents for the manipulation of the human immune
        response. Examples follow:
      • “Fusion Molecules and Methods for Treatment of Immune Disease” •US patent 7,265,208,
          7,534,440 Issued April 19, 2009.
      • “Modified Fusion Molecules for Treatment of Allergic Disease”. US application 11/050,113, PCT
          application 06/03562


PROFESSIONAL APPOINTMENTS:

o   Professor of Medicine Emeritus (rehire), Department of Medicine, UCLA School of Medicine, 2006.
o   Executive Director, UCLA Food and Drug Allergy Care Center, 2010 - 2016
o   Chief Scientific Officer, Tunitas Therapeutics, 2008 - present
o   Scientific Advisory Board, Stellar Biotechnology, 2010 – present, Chairman 2010- 2014
o   Professor of Medicine, Department of Medicine, UCLA School of Medicine, 1984 – present.
o   Chief, Division of Clinical Immunology/Allergy, UCLA School of Medicine, 1978 – 2006.
o   Associate, UCLA Molecular Biology Institute, 1985 – 2013.
o   Member, UCLA Jonsson Comprehensive Cancer Center, 1983 – 2006, Associate 2106- present.
o   Associate Professor of Medicine, Department of Medicine, UCLA School of Medicine, 1980 – 1984.
o   Acting Chief, Division of Clinical Immunology-Allergy, UCLA School of Medicine, 1977 - 1978
o   Assistant Professor of Medicine, Department of Medicine, UCLA School of Medicine, 1977 – 1980
o   Chief Scientific Officer and Founder, Tunitas Therapeutics, 2008 – 2016
o   President and Founder, Sixal Incorporated, 2011 - present


PROFESSIONAL ACTIVITIES, UCLA:

Division of Clinical Immunology/Allergy Activities:

o   Founder: Division of Clinical Immunology-Allergy, Department of Medicine, UCLA School of
       Medicine, 1977. The activity included 6 full-time faculty members and a broad array of research
       scientists, technicians, and administrative support persons. I have been funded continuously by
       the NIH since 1977 and currently have been awarded 2 NIH research grants

o   Established the post-doctoral training program in Adult Clinical Immunology and Allergy. This was
        later combined with the ongoing Pediatric training program so that now I was Co-Director of the
        Conjoint Adult/Pediatric training program in Allergy and Clinical Immunology for about 25
        years. Initiated the UCLA Basic and Clinical Immunology conjoint teaching in 1977 that is now
        carried out in conjunction with the Department of Pediatrics.




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Departmental Activities (selected):

o   Department of Medicine Division Chiefs Committee, 1977 - 2006
o   Department of Medicine Subspecialties Committee, 1999 - 2006
o   Department of Medicine Honors Committee 1984 - 1987
o   Department of Medicine Curriculum Committee 1989 - 1991
o   Department of Medicine Chairman Search Committee 1991 - 1992

School of Medicine and Campus Activities (selected):

o Executive Board, UCLA Academic Senate, 1983 - 1984
o Interim Director - UCLA AIDS Center, 1985
o Associate Director - UCLA AIDS Center, 1986 - 1990
o Howard Hughes Faculty Search Committee, 1986 - 1991
o Dean's Bridge Grant Selection Committee 1995- 2010
o Co-Director, Center for Interdisciplinary Research in Immunologic Diseases Grant (CIRID) at
      UCLA, involving investigators from multiple School of Medicine Departments, as well as the
      School of Nursing, 1988 - to 1993.
o Director, UCLA Asthma, Allergy and Immunologic Disease Center 1993 – 2006, Co Director 2006
      - present. This Center, funded by the National Institutes of Health (National Institute of Allergy
      and Infectious Disease and the National Institute Environmental Health and Sciences) is
      dedicated to determining the relationship between environmental factors, the immune system and
      specific disease processes
o Principal Investigator: Basic and Clinical Immunology Training Grant, providing for graduate and
      post-graduate training positions to training preceptors in both the School of Medicine and the
      College of Letters and Science, 1990 - 2006
o Numerous search committees.


PROFESSIONAL ACTIVITIES, OUTSIDE UCLA:

National Scholarly Organization Activities (selected):

o   American Academy of Allergy and Immunology, Basic and Clinical Immunology Section, Vice-
        Chair 1989 - 1990; Chair 1990 - 1991
o   American Academy of Allergy and Immunology, Committees (active) Research Awards committee
        - Chair, Nominating committee, Primary Immunodeficiency Disease committee, Clinical and
        Diagnostic Immunology committee.
o   American Association of Immunologists, Program Committee - Clinical Immunology Section, Co-
        Chair 1994 - 1996
o   American Association of Immunologists, Program Committee - Immediate Hypersensitivity Section,
        Co-Chair 1990 - 1991; Chair 1991 - 1993
o   American Federation for Clinical Research, National Counselor, 1981 - 1986
o   American Federation for Clinical Research, Public Policy Committee: 1982 - 1986
o   American Federation for Clinical Research, Publications Committee: 1983 -1986
o   Clinical Immunology Society, Council Member and Executive Committee. 1992- 2011
o   Clinical Immunology Society, President, 1999 -2000
o   Clinical Immunology Society, Publications Committee, 1987 - 1998, Chair, 1995 - 1998
o   Dartmouth Medical School Admissions Support Committee, 1983 - 1988
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o   National Institute of Allergy and Infectious Diseases: Co-chair for Allergy & Immediate
       Hypersensitivity 1996-7: Member 1989 - 1990
       Task Force on Asthma and Other Allergic Diseases/New Initiatives in Immunology
o   National Institute of Allergy and Infectious Diseases: Expert Panel on the Extramural Asthma and
       Allergy Research Program, Co-Chair, 2000
o   Pan-American Group on Immunodeficiency, Co-founder and Member of Executive Council 1995 -
       present
o   National Institute of Allergy and Infectious Diseases: Expert Panel on Food Allergy Research, Co-
       Chair, 2003
o   Task Force on Asthma and Other Allergic Diseases/New Initiatives in Immunology NIH, 2002
o   U.S. Judiciary impartial expert witness: Swine Flu Litigation, 1984 - 1988

Research Peer Review Funding Responsibilities (selected):

o   Immune Tolerance Network, Member and Co-Chair, Section on Allergy, Member of National
       Steering Committee and National Executive Committee, 2000 - 2014
o   Advisory Council ad hoc member, National Institute of Allergy and Infectious Diseases, 1991
o   Chair of Asthma, Allergy and Immunologic Disease Center Review, National Institute of Allergy
       and Infectious Diseases, 1994 and 1999.
o   Co-chair of Human Immunology Think Tank, National Institute of Allergy & Infectious Diseases,
       2001
o   Reviewer:
       American Arthritis Foundation
       Human Frontier Science Program Organization (Europe
       Medical Research Council (Australia)
       Medical Research Council (Canada)
       Medical Research Council (United Kingdom)
       National Science Foundation
       NIH Study Sections: Ad Hoc: Immunobiology, Allergy and Immunology, Immunological
       Sciences, Experimental Immunology
       Veterans’ Administration: Immunology Merit Review Board

Journal Stewardship:
o Editor-in-Chief: Clinical Immunology, 1999 – 2010,
o Special Editor/Editor emeritus, Clinical Immunology, 2011 - present
o Founder and Editor-in-Chief: AIDS Medical Update, 1983 - 1992
o Executive Editor: Clinical Immunology Spectrum, 1991 - 1996
o Associate Editor-in-Chief: The Immunologist, 1996 - 1999
o Associate Editor: AIDS Targeted Information Newsletter, 1987 - 1993
o Associate Editor: Journal of Immunology, 1982 - 1987
o Founder and Consulting Editor: AIDS Nursing Update, 1987 - 1992
o Associate Editor-in-Chief: Clinical Immunology & Immunopathology - 1998
o Editorial Board:
        Journal Allergy and Clinical Immunology, 1981 - 1986
        Journal of Clinical Immunology, 1982 - 1989
        Clinical Research, 1984 - 1986
        Disease Markers, 1985 – 2012
o Member, Committee on Publishing Ethics, Elsevier 2008-2013


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May 2018                                                   CURRICULUM VITAE, Andrew Saxon, M.D.

TRAINING/TEACHING ACTIVITIES (selected):

o Co-Director: Combined Fellowship in Pediatric and Adult Immunology and Allergy, 1979 - 2003
o Director: Fellowship Program in Adult Clinical Immunology/Allergy (CIA), UCLA School of
     Medicine, 1977 - 1979
o American Academy of Allergy/Immunology: Trainee Award Committee Member, 1989 - 1991
o Member: Training Directors Committee, American Academy of Allergy and Immunology, 1980 -
     2000
o Member: Training Directors Committee, American College of Allergy and Immunology, 1989 -
     2000
o Chairman: UCLA Department of Medicine Honors Preceptor Program, 1984 - 1987
o Organizer and/or Instructor: various courses in Medicine and Microbiology & Immunology, as well
     as in continuing medical education, 1977 - present


PUBLIC SERVICE:

o Asthma and Allergy Foundation of America (Los Angeles Chapter): Board of Directors, 1981 -
     1985
o Asthma and Allergy Foundation of America (Los Angeles Chapter): Medical Advisory Board, 1986 -
     1999; Chairman, 1990 - 1999
o FDA Advisory Panel member - Allergenic products 1997 - 2002
o Immune Deficiency Foundation of America: Medical Advisory Board, 1990 - 2004
o PADI Foundation: Board of Directors, 1991- present, Secretary and Chief Financial Officer 1992 –
     present.
o Chair, USC Children's Center Advisory Committee 1999-present
o Chair, Food Allergy Initiative Medical Advisory Board 2001 – 2006
o External reviewer of the FDA research programs in the Laboratory of Immunobiochemistry, Division
     of Bacterial, Parasitic and Allergenic Products, Center for Biologics Evaluation and Research


PROFESSIONAL SOCIETIES:

o Association of American Physicians
o American Society for Clinical Investigation
o American Federation for Clinical Research
o American Association of Immunologists
o American Academy of Allergy and Clinical Immunology
o American College of Allergy and Immunology
o Clinical Immunology Society
o Collegium Internationale Allergologicum
o Los Angeles Society of Allergy and Clinical Immunology
o Pan-American Group on Immunodeficiency
o Society of Toxicology, Immunotoxicology Section
o Western Association of Physicians




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HONORS: (selected)

•   Recipient: Allergic Diseases Academic Award; National Institute of Allergy and Infectious
    Diseases, 1978 – 1983.
•   University Visiting Professorship: Singapore Post Graduate School of Medicine and Singapore
    General Hospital, Singapore, 1985.
•   Swineford Memorial Lectureship: University of Virginia, Charlottesville, VA, 1987.
•   Catholic University Visiting Lectureship in Immunology: Catholic University, Santiago, Chile, 1987
•   Rabiner Visiting Professor: University of Oregon School of Medicine, Good Samaritan Hospital,
    Portland, OR, 1988.
•   UCLA Visiting Professorship: Harbor General Hospital/UCLA, Torrance, CA, 1988.
•   Robert Orange Memorial Lectureship, University of Toronto, Hospital for Sick Children, Toronto,
    Canada, 1988.
•   Visiting Professor, National Jewish Center for Immunology, Denver, CO, 1990.
•   American College of Allergy & Immunology Visiting Professor, University of Oklahoma, Tulsa,
    OK, 1991.
•   American College of Allergy & Immunology Visiting Professor, Temple University, Philadelphia,
    PA., 1992.
•   Goodman Family Visiting Professor, Santa Monica Hospital Medical Center, Los Angeles, CA 1994
•   UCLA Medical Sciences Research Award Recipient, 1994.
•   University of Illinois College of Medicine Visiting Professor 1995.
•   Keynote speaker First Japanese Clinical Immunology and Allergy Society meeting and International
    Guest of Honor, Japanese Society of Immunology, Allergy and Otolaryngology, 1996.
•   Arbesman Commemorative Lecturer - American Academy of Allergy, Asthma and Immunology,
    1997.
•   National Institute of Allergy and Infectious Diseases 50th Anniversary Symposium Speaker, ATS,
    1999.
•   Recipient, Stein Oppenheimer Award 1999.
•   William Pierson Lectureship, American Academy of Allergy, Asthma and Immunology, Scripps
    Mercy Hospital, 2000.
•   First Annual Feng Pao Hsii Lectureship, Singapore Society of Immunology, Rheumatology &
    Allergy Society, 2000.
•   Keynote Speaker, Keystone Symposium on Asthma, Sante Fe, New Mexico, Feb. 2002
•   Distinguished Visiting Professor in Immunology, Biology of Inflammation Center at Baylor College
    of Medicine, Feb. 2004.
•   Presidential Award, Clinical Immunology Society, 2005.
•   Physician-of-the-Year honoree, Asthma and Allergy Foundation of America, Los Angeles Chapter,
    2005.
•   Carolyn and Warren Richards Allergy Lectureship, Children’s Hospital of Los Angeles, Keck School
    of Medicine, University of Southern California, 2006.
•   Distinguished Service Award, Clinical Immunology Society, 2008




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May 2018                                                      CURRICULUM VITAE, Andrew Saxon, M.D.

                                          PUBLICATIONS


                                  Research Papers - peer reviewed

1.      Saxon, A. and Higham, C.W.F. Identification and interpretation of growth rings in the secondary
        dental cementum of Ovis aris L. Nature. 219:634, 1968.
2.      Saxon, A. and Higham, C.W.F. A new research method for economic prehistorians. American
        Antiquity. 34:303, 1969.
3.      Ferm, V.H. and Saxon, A. Amniotic fluid volumes in experimentally induced renal agenesis and
        anencephaly. Experimentia. 27:1066, 1971.
4.      Ferm, V.H., Saxon, A. and Smith, B.M. The teratogenic profile of sodium arsenate in the golden
        hamster. Arch Environ Health. 22:557, 1971.
5.      Hoefnagel, D., Pomeroy, J., Wurster, D. and Saxon, A. Congenital athetosis, mental deficiency,
        dwarfism and laxity of skin and ligaments. Helv Paediat Acta. 26:397, 1971.
6.      Saxon, A., Busch, G.J., Merrill, J.P. and Wilson, R. Renal transplantation in primary
        hyperoxaluria. Arch of Internal Med. 133:464, 1974.
7.      Saxon, A. and Kattlove, H.E. Platelet inhibition by sodium nitroprusside, a smooth muscle
        inhibitor. Blood. 46:957, 1976.
8.      Saxon, A., Feldhaus, J., and Robins, R.A. Single step separation of human T and B cells using
        AET treated SRBC rosettes. J Immunol Methods. 12:285, 1976.
9.      Cline, M.J., Opelz, G., Saxon, A., Fahey, J.L. and Golde, D.W. Autoimmune panleukopenia. N
        Engl J Med. 295:1489, 1976.
10.     O'Toole, C., Saxon, A. and Bohrer, R. Human lymph node lymphocytes fail to effect lysis of
        antibody coated target cells. Clin Exp Immunol. 27:165, 1977.
11.     Bonavida, B., Robins, R.A. and Saxon, A. Lectin-dependent cellular cytotoxicity in man.
        Transplantation. 23:261, 1977.
12.     Golde, D.W., Saxon, A. and Stevens, R.H. Macroglobulinemia and hairy-cell leukemia. N Engl
        J Med. 296:92, 1976.
13.     Golde, D.W., Stevens, R.H., Quan, S.G. and Saxon, A. Immunoglobulin synthesis in hairy cell
        leukemia. Brit Journal Haematology. 35:359, 1977.
14.     Saxon, A. and Portis, J. Lymphoid subpopulation changes in regional lymph nodes in squamous
        head and neck cancer. Cancer Res. 37:1154, 1977.
15.     Saxon, A. and Portaro, J. Preservation of in vitro biologic functions in regional lymph node
        lymphocytes in squamous head and neck cancer. Cancer Res. 37:1159, 1977.
16.     Saxon, A., Morledge, D. and Bonavida, G. Histamine receptor leukocytes (HRL): Organ and
        lymphoid subpopulation distributions in man. Clin Exp Immunol. 28:394, 1977.
17.     Saxon, A., Stevens, R.H., Ashman, R.A. and Parker, N. Dual immune defects in non-
        granulomatous ulcerative jejunoileitis with hypogammaglobulinemia.              Clin Immunol
        Immunopath. 8:272, 1977.
18.     Saxon, A., Stevens, R.H. and Ashman, R.A. Regulation of immunoglobulin production in human
        peripheral blood leukocytes: Cellular interactions. J. Immunol. 118:1872, 1977.
19.     Pratt, H.P.M., Fitzgerald, P.A. and Saxon, A. Synthesis of sterol and phospholipid induced by
        the interaction of phytohemagglutinin and other mitogens with human lymphocytes and their
        relation to blastogenesis and DNA synthesis. Cell Immunol. 32:160, 1977.
20.     Saxon, A., Stevens, R.H., Raimer, S.J., Clements, P.J. and Yu, D.T.Y. Glucocorticoids
        administered in vivo inhibit human suppressor T lymphocyte function and diminish B
        lymphocyte responsiveness in in vitro immunoglobulin synthesis. J Clin Invest. 61:922, 1978.

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May 2018                                                       CURRICULUM VITAE, Andrew Saxon, M.D.

21.     Saxon, A., Stevens, R.H., Quan, S.G. and Golde, D.W. Immunologic characterization of hairy
        cell leukemias in continuous culture. J Immunol. 120:777, 1978.
22.     Fiala, M., Chatterjee, S.N., Carson, S., Poolsawat, S., Heiner, D.C., Saxon, A. and Guze, L.B.
        Cytomegalovirus retinitis secondary to chronic viremia in phagocytic leukocytes. Amer J
        Ophthalmol. 84:567, 1977.
23.     Fiala, M. Chatterjee, S., Ellis, R., Imparato, B., Bahna, S. and Saxon, A. Fever of undetermined
        origin: Role of cytomegalovirus and Epstein-Barr virus. West J Med. 129:263-266, 1978.
24.     Pratt, H.P.M., Saxon, A. and Graham, M.L. Membrane lipid changes associated with malignant
        transformation and normal maturation of human lymphocytes. Leukemia Research. 2:1, 1978.
25.     Saxon, A. and Stevens, R.H. Suppression of immunoglobulin production in normal human
        blood characterization of the cells responsible and mediation by a soluble T lymphocyte derived
        factor. Clin Immunol Immunopath. 10:427, 1978.
26.     Stevens, R.H., and Saxon, A. Anti-human helper T-lymphocyte antiserum: Generation and
        functional characterization. Clin Immunol Immunopath. 10:438, 1978.
27.     Saxon, A., Stevens, R.H. and Golde, D.W. T-lymphocyte variant of hairy cell leukemia. Ann Int
        Med. 88:323, 1978.
28.     Stevens, R.H. and Saxon, A. Immunoregulation in humans: Control of anti-tetanus toxoid
        antibody production after booster immunization. J Clin Invest. 62:1154, 1978.
29.     Stevens, R.H., Thiele, C. and Saxon, A. The production of a soluble human T lymphocyte
        derived factor which substitutes for helper T lymphocytes in the in vitro production of
        immunoglobulin. Immunology. 36:407, 1979.
30.     Saxon, A. and Stevens, R.H. Human T lymphocyte-derived helper factor (HHF): Cellular and
        physical characterization. Clin Immunol Immunopath. 12:82, 1979.
31.     Fitchen, J.H., Cline, M.J., Saxon, A. and Golde, D.W. Serum inhibitors of hematopoiesis in a
        patient with aplastic anemia and systemic lupus erythematosus: Recovery after exchange
        plasmaphoresis. Amer J of Med. 66:537, 1979.
32.     Saxon, A., Stevens, R.H. and Golde, D.W. Helper and suppressor T-lymphocyte leukemia in
        Ataxia Telangiectasia. N Engl J Med. 300:700, 1979.
33.     Stevens, R.H. and Saxon, A. Reduced in vitro production of anti-tetanus toxoid antibody after
        repeated in vivo immunization with tetanus toxoid. J Immunol. 122:592, 1979.
34.     Stevens, R.H. and Saxon, A. Differential synthesis of IgM and IgG antitetanus toxoid antibody
        in vitro following in vivo booster immunization of humans. Cell Immunol. 45:142, 1979.
35.     Stevens, R.H., Macy, E., Morrow, C. and Saxon, A. Characterization of a circulating sub-
        population of spontaneous anti-tetanus toxoid antibody producing B cells following in vivo
        booster immunization. J Immunol. 122:2498, 1979.
36.     Bluming, A., Cohen, H. and Saxon, A.                Angioimmunoblastic lymphadenopathy with
        dysproteinemia: A pathogenetic link between physiologic lymphoid proliferation and malignant
        lymphoma. Amer J Med. 67:421, 1979.
37.     Krantman, H.J., Stiehm, E.R., Stevens, R.H., Saxon, A. and Seeger, R.C. Abnormal B cell
        differentiation and variable increased T cell suppression in immunodeficiency with hyper-IgM.
        Clin Exp Immunol. 40:147, 1980.
38.     Ashman, R.F., Saxon, A. and Stevens, R.H. Profile of multiple lymphocyte functional defects in
        acquired hypogammaglobulinemia derived from in vitro cell recombination analysis. J Allergy
        Clin Immunol. 65:242, 1980.
39.     Saxon, A. and Stevens, R.H. Stimulation and regulation of human IgE production in vitro using
        peripheral blood lymphocytes. Clin Immunol Immunopath. 14:474, 1979.



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May 2018                                                       CURRICULUM VITAE, Andrew Saxon, M.D.

40.     Saxon, A., Kobayashi, R.H., Stevens, R.H., Stiehm, E.R. and Siegel, S.C. In vitro analysis of
        humoral immunity with normal immunoglobulins in antibody deficiency. Clin Immunol
        Immunopath. 17:235, 1980.
41.     Stevens, R.H., Tamaroff, M. and Saxon, A. Inability of patients with common variable
        hypogammaglobulinemia to generate lymphoblastoid B cells following booster immunization.
        Clin Immunol Immunopath. 16:336, 1980.
42.     Saxon, A., Morrow, C. and Stevens, R.H. Subpopulations of circulating B cells and regulatory T
        cells involved in in vitro immunoglobulin E production in atopic patients with elevated serum
        immunoglobulin E. J Clin Invest. 65:1457, 1980.
43.     Saxon, A., Tamaroff, M.A., Morrow, C. and Stevens, R.H. Impaired generation of spontaneous
        and mitogen-reactive anti-tetanus toxoid antibody producing B cells following repetitive in vivo
        booster immunization. Cell Immunol. 59:82, 1981.
44.     Boxer, R.J., Sofen, H. and Saxon, A. The detection of transitional cell bladder cancer antigens
        on established cell lines. Invest Urology. 19:70, 1981.
45.     Saxon, A., Kaplan, M. and Stevens, R.H. Isotype specific human B lymphocytes that produce
        immunoglobulin E in vitro when stimulated by pokeweed mitogen. J Allergy Clin Immunol.
        66:231, 1980.
46.     Stevens, R.H. and Saxon, A. Antigen-induced suppression of human in vitro pokeweed mitogen
        stimulated antibody production. Cell Immunol. 55:85, 1980.
47.     Foon, K.A., Naiem, F., Saxon, A., Stevens, R.H. and Gale, R.P. Leukemia of T-helper
        lymphocytes: Clinical and functional features. Leukemia Research. 5:1, 1981.
48.     Saxon, A., Thiele, C.J., Moroz, C. and Stevens, R.H. Adenosine receptor lymphocytes in
        humoral immunodeficiency. J Clin Immunol. 1:131, 1981.
49.     Krantman, H.J., Saxon, A., Stevens, R.H. and Stiehm, E.R. Phenotypic heterogeneity in X-
        linked infantile agammaglobulinemia with in vitro monocyte suppression of immunoglobulin
        synthesis. Clin Immunol Immunopath. 20:170, 1981.
50.     Church, J.A., Isaccs, H., Saxon, A., Keens, T.G. and Richards, W. Lymphoid interstitial
        pneumonitis and hypogammaglobulinemia in children. Amer Rev Resp Dis. 124:491, 1981.
51.     Cannon, R.A., Blum, P.M., Ament, M.E., Byrne, W.J., Soderberg-Warner, M., Seeger, R.C.,
        Saxon, A. and Stiehm, E.R. Reversal of enterocolitis-associated combined immunodeficiency by
        plasma therapy. J Pediatrics. 101:711, 1982.
52.     Saxon, A., McIntyre, R.E., Stevens, R.H. and Gale, R.P. Lymphocyte dysfunction in chronic
        graft versus host disease. Blood. 58:746, 1981.
53.     Ahmed, R.A., Sofen, H. and Saxon, A. Detection of an antisquamous antibody in multiple
        kertoacanthoma. Clin Immunol Immunopath. 22:20, 1982.
54.     Gottlieb, M.S., Schroff, R., Schanker, H.M., Weisman, J.D., Fan, P.T., Wolf, R.A. and Saxon, A.
        Pneumocystis carinii pneumonia and mucosal candidiasis in previously healthy homosexual men:
        Evidence of a new acquired cellular immunodeficiency. N Engl J Med. 305:1425, 1981.
55.     Barbers, R.G., Shih, W.W.H. and Saxon, A. In vitro depression of human lymphocyte mitogen
        response (phytohemagglutinin) by asbestos fibres. Clin Exp Immunol. 48:602, 1982.
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                                                         Reviewers




                     This report has been reviewed in draft form by persons chosen for their
                diverse perspectives and technical expertise, in accordance with procedures
                approved by the National Research Council’s Report Review Committee.
                The purpose of this independent review is to provide candid and critical
                comments that will assist the institution in making its published report as
                sound as possible and to ensure that the report meets institutional standards
                of objectivity, evidence, and responsiveness to the study charge. The review
                comments and draft manuscript remain confidential to protect the integrity
                of the deliberative process. We wish to thank the following for their review
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                Diane R. Gold, MD, MPH, Harvard Medical School and Harvard School
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                    Dentistry

                     Although the reviewers listed above have provided many constructive
                comments and suggestions, they were not asked to endorse the conclusions
                or recommendations, nor did they see the final draft of the report before its
                release. The review of this report was overseen by Robert B. Wallace, MD,
                University of Iowa, and John C. Bailar III, MD, PhD, University of Chicago.
                Appointed by the National Research Council and Institute of Medicine, they
                were responsible for making certain that an independent examination of
                this report was carried out in accordance with institutional procedures and
                that all review comments were carefully considered. Responsibility for the
                final content of this report rests entirely with the authoring committee and
                the institution.


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                health effects attributed to microbial agents found indoors, and mold- and
                moisture-related research. The speakers, who are listed in Appendix A, gave
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                for all content in the report.
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                ing staff at the Institute of Medicine (IOM). The expertise and leadership of
                Rose Marie Martinez, director of the IOM Board on Health Promotion and
                Disease Prevention, helped to ensure that this report met the highest stan-
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                her outstanding work, leadership, and dedication to this project.




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                                            Executive Summary




                     A damp spot appears in a ceiling after an intense rainstorm; a hose
                loosens from a washing machine, spilling gallons of water onto a basement
                floor; weeks after a moldy odor is detected, a plumber finds a slow leak
                behind a wall. There are over 119 million housing units in the United States
                and nearly 4.7 million commercial buildings (U.S. Census Bureau, 2003),
                and almost all of them experience leaks, flooding, or other forms of exces-
                sive indoor dampness at some time.
                     Excessive indoor dampness is not by itself a cause of ill health, but it is
                a determinant of the presence or source strength of several potentially
                problematic exposures. Damp indoor environments favor house dust mites
                and microbial growth, standing water supports cockroach and rodent infes-
                tations, and excessive moisture may initiate chemical emissions from build-
                ing materials and furnishings.
                     Indoor microbial growth—especially fungal growth—has recently re-
                ceived a great deal of attention in the mass media. It is a prominent feature
                of the breakdown of dampness control; its many possible causes include a
                breach of the building envelope, failure of a water-use device, and excessive
                indoor water-vapor generation. Occupants, health professionals, and oth-
                ers have wondered whether indoor exposure to mold and other agents
                might have a role in adverse health outcomes experienced by occupants of
                damp buildings. Prominent among these health outcomes is acute idio-
                pathic pulmonary hemorrhage in infants, cases of which were reported in
                Cleveland, Ohio in the 1990s. Residence in homes with recent water dam-



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                 2                                                       DAMP INDOOR SPACES AND HEALTH


                age and in homes with visible mold (including Stachybotrys chartarum) was
                among the risk factors identified in the case infants.
                    Against that backdrop, the Centers for Disease Control and Prevention
                (CDC) asked the Institute of Medicine to convene a committee of experts.
                CDC provided the following charge to that committee:
                      The Institute of Medicine will conduct a comprehensive review of the
                      scientific literature regarding the relationship between damp or moldy
                      indoor environments and the manifestation of adverse health effects, par-
                      ticularly respiratory and allergic symptoms. The review will focus on the
                      non-infectious health effects of fungi, including allergens, mycotoxins and
                      other biologically active products. In addition, it will make recommenda-
                      tions or suggest guidelines for public health interventions and for future
                      basic science, clinical, and public health research in these areas.


                                        FRAMEWORK AND ORGANIZATION
                    Figure ES-1 describes the path by which water or moisture sources may
                lead to excessive indoor dampness and to exposures that may result in
                adverse health outcomes. The elements of this framework are reflected in
                the major topics addressed in the report:
                     • How and where buildings become wet, the signs of dampness, how
                dampness is measured, the risk factors for moisture problems, and what is
                known about their prevalence, severity, location, and duration (Chapter 2).
                     • How dampness influences indoor microbial growth and chemical
                emissions, the various agents that may be present in damp environments,
                and the influence of building materials on microbial growth and emissions
                (Chapter 2).
                     • The means available for assessing exposure to microorganisms and
                microbial agents that occur in damp indoor environments (Chapter 3).
                     • The experimental data on the nonallergic biologic effects of molds
                and bacteria, including the bioavailability of mycotoxins and toxic effects
                seen in cellular (in vitro) and animal (in vivo) toxicity studies of mycotoxin
                and bacterial toxin exposure (Chapter 4).
                     • The state of the scientific literature regarding health outcomes and
                indoor exposure to dampness and dampness-related agents (Chapter 5).
                     • Dampness prevention strategies, published guidelines for the removal
                of fungal growth (remediation), remediation protocols, and research on the
                effectiveness of various cleaning strategies (Chapter 6).
                     • The public health implications of damp indoor environments and
                the elements of a public health response (Chapter 7).
                    The committee faced a substantial challenge in conducting its review of
                these topics—research on fungi and other dampness-related agents is bur-


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                EXECUTIVE SUMMARY                                                                                         3


                                           External                         Internal sources
                                          sources of                           of water or
                                            water or                            moisture
                                           moisture
                                                                                  
                               Accident or breakdown of one or more elements that determine
                                whether water or moisture sources result in excessive indoor
                              dampness (component failure; poor building design, construction,
                                        operation, or maintenance; occupant behavior)
                                                                 
                                                          Excessive indoor
                                                             dampness
                                                                                 
                   Enhanced environment                  New or enhanced                 Dampness-related
                    for house dust mites,               growth of mold and             degradation of building
                      cockroaches, etc.                other microbial agents               materials and
                                                                                             furnishings
                                                                                 
                              Removal processes (ventilation, filtration, surface cleaning, etc.)
                             that affect indoor pollutant concentrations in air or on surfaces and
                                             the magnitude of potential exposures
                                                                 
                                         Potential exposure of occupants to microbial and
                                                   other dampness-related agents
                                                                                  
                  Other causes               Health                         No change in
                   of health              outcome(s)                      occupant health
                   outcomes             possibly related                        status
                                          to exposures
                                                                                  
                                         Intervention—elimination of moisture source(s);
                                           remediation; building renovation; changes in
                                         building operation, maintenance and/or occupant
                                                              behavior
                                                                ?
                                         Reduction or elimination of any health outcomes
                                              related to dampness-related exposures


                FIGURE ES-1 A framework describing the potential for water and moisture sources
                to lead to excessive indoor dampness and to exposures that may result in adverse
                health outcomes.



                geoning, and important new papers are constantly being published. Al-
                though the committee did its best to paint an accurate picture of the state of
                the science at the time its report was completed in late 2003, it is inevitable
                that research advances will extend beyond the report’s findings.


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                 4                                                       DAMP INDOOR SPACES AND HEALTH


                    The sections below are a synopsis of the committee’s major findings
                and recommendations, and the research needs they identified. Chapters 2–
                7 detail the reasoning underlying these and present the committee’s com-
                plete findings.


                                          THE COMMITTEE’S EVALUATION

                                                          Damp Buildings
                     The term dampness has been used to define a variety of moisture prob-
                lems in buildings, including high relative humidity, condensation, water
                ponding, and other signs of excess moisture or microbial growth. While
                studies report that dampness is prevalent in residential housing in a wide
                array of climates, attempts to understand its scale and significance are
                hampered by the fact that there is no generally accepted definition of damp-
                ness or of what constitutes a “dampness problem.”
                     There is no single cause of excessive indoor dampness, and the primary
                risk factors for it differ across climates, geographic area, and building types.
                Although the prevalence of dampness problems appears to increase as build-
                ings age and deteriorate, the experience of building professionals suggests
                that some modern construction techniques and materials and the presence
                of air-conditioning also increase the risk of dampness problems. The preva-
                lence and nature of dampness problems suggest that what is known about
                their causes and prevention is not consistently applied in building design,
                construction, maintenance, and use.
                     One consequence of indoor dampness is new or enhanced growth of
                fungi and other microbial agents. The fungi have (eukaryotic) cells like
                animals and plants, but are a separate kingdom. Most consist of masses of
                filaments, live off of dead or decaying organic matter, and reproduce by
                spores. Visible fungal colonies found indoors are commonly called mold or
                sometimes mildew. This report, following the convention of much of the
                literature on indoor environments, uses the terms fungus and mold inter-
                changeably to refer to the microorganisms.
                     Mold spores are regularly found in indoor air and on surfaces and
                materials—no indoor space is free of them. There are a large number of
                species and genera, and those most typically found indoors vary by geo-
                graphic area, climate, season, and other factors. The availability of mois-
                ture is the primary factor that controls mold growth indoors, since the
                nutrients and temperature range they need are usually present. While much
                attention is focused on mold growth indoors, it is not the only dampness-
                related microbial agent. Mold growth is usually accompanied by bacterial
                growth. Some research on fungi and bacteria focuses on specific compo-



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                EXECUTIVE SUMMARY                                                                                         5

                nents that may be responsible for particular health effects: spores and hy-
                phal fragments of fungi, spores and cells of bacteria, allergens of microbial
                origin, structural components of fungal and bacterial cells, and such prod-
                ucts as microbial volatile organic compounds (MVOCs) and mycotoxins.
                Release of these components varies, depending on many physiologic and
                environmental factors. Dampness can also damage building materials and
                furnishings, causing or exacerbating the release of chemicals and non-
                biologic particles from them.
                     Given the present state of the literature, the committee identified several
                kinds of research needs. Standard definitions of dampness, metrics, and asso-
                ciated dampness-assessment protocols need to be developed to characterize
                the nature, severity, and spatial extent of dampness. Precise, agreed-on defini-
                tions will allow important information to be gathered about the determinants
                of dampness problems in buildings and the mechanisms by which dampness
                and dampness-related effects and exposures affect occupant health. More
                than one definition may be required to meet the specific needs of health
                researchers (epidemiologists, physicians, and public-health practitioners) in
                contrast with those involved in preventing or remediating dampness (archi-
                tects, engineers, builders, and those involved in building maintenance). How-
                ever, definitions should be standardized to the extent possible. Any efforts to
                establish common definitions must be international in scope because exces-
                sive indoor dampness is a worldwide problem and research cooperation will
                promote the generation and dissemination of knowledge.
                     Research is also needed to better characterize the dampness-related
                emissions of fungal spores, bacteria, and other particles of biologic origin
                and their role in human health outcomes; the microbial ecology of build-
                ings, that is, the link between dampness, different building materials, mi-
                crobial growth, and microbial interactions; and dampness-related chemical
                emissions from building materials and furnishings, and their role in human
                health outcomes. Studies should be conducted to evaluate the effect of the
                duration of moisture damage of materials and its possible influence on
                occupant health and to evaluate the effectiveness of various changes in
                building designs, construction methods, operation, and maintenance in re-
                ducing dampness problems. Increased attention should be paid to heating,
                ventilation, and air conditioning (HVAC) systems as a potential site for the
                growth and dispersal of microbial contaminants that may result in adverse
                health effects in building occupants. And research should be performed to
                develop designs and construction and maintenance practices for buildings
                and HVAC systems that reduce moisture problems; building materials that
                are less prone to microbial contamination when moist; and standard, effec-
                tive protocols for clean-up after flooding and other catastrophic water
                events that will minimize microbial growth.



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                 6                                                       DAMP INDOOR SPACES AND HEALTH


                                                       Exposure Assessment
                     The lack of knowledge regarding the role of microorganisms in the
                development and exacerbation of diseases found in occupants of damp
                indoor environments is due largely to the lack of valid quantitative expo-
                sure-assessment methods and knowledge of which specific microbial agents
                may primarily account for the presumed health effects. Very few biomarkers
                of exposure to or dose of biologic agents have been identified, and their
                validity for exposure assessment in the indoor environment is often not
                known. The entire process of fungal-spore aerosolization, transport, depo-
                sition, resuspension, and tracking—all of which determine inhalation expo-
                sure—is poorly understood, as is the significance of exposures to fungi
                through dermal contact and ingestion.
                     There are several methods for measuring and characterizing fungal
                populations, but methods for assessing human exposure to fungal agents
                are poorly developed and are a high-priority research need. Part of the
                difficulty is related to the large number of fungal species that are measur-
                able indoors and the fact that fungal allergen content and toxic potential
                vary among species and among morphologic forms within species. In addi-
                tion, the most common methods for fungal assessment—counting cultured
                colonies and identifying and counting spores—have variable and uncertain
                relationships to allergen, toxin, and irritant content of exposures.
                     Based on their review of the literature, the committee recommends that
                existing exposure assessment methods for fungal and other microbial agents
                be subjected to rigorous validation and that they be further refined to make
                them more suitable for large-scale epidemiologic studies. This includes stan-
                dardization of protocols for sample collection, transport of samples, extrac-
                tion procedures, and analytical procedures and reagents. Such work should
                result in concise, internationally accepted protocols that will allow mea-
                surement results to be compared both within and across studies.
                     The committee also identified a need to develop improved exposure
                assessment methods, particularly methods based on nonculture techniques
                and techniques for measuring constituents of microorganisms—allergens,
                endotoxins, β(1→3)-glucans, fungal extracellular polysaccharides, fungal
                spores, and other particles and emissions of microbial origin. These needs
                include further improvement of light and portable personal airborne ex-
                posure measurement technology, more rapid development of measure-
                ment methods for specific microorganisms that use DNA-based and other
                technology, and rapid and direct-reading assays for bioaerosols for the
                immediate evaluation of potential health risks. Application of the im-
                proved or new methods will allow more valid exposure assessment of
                microorganisms and their components, which should facilitate more-
                informed risk assessments.


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                     Because only sparse data are available on variation in exposure to
                biologic agents in the home environment, it is not possible to recommend
                how many samples should be taken to produce an accurate assessment of
                risk-relevant exposure.

                                      Toxic Effects of Fungi and Bacteria
                     Although a great deal of attention has focused on the effects of bacteria
                and fungi mediated by allergic responses, these microorganisms also cause
                nonallergic responses. Toxicologic studies, which examine such responses
                using animal and cellular models, cannot be used by themselves to draw
                conclusions about human health effects. However, animal studies are im-
                portant in identifying hazardous substances, defining their target organs or
                systems and their routes of exposure, and elucidating their toxicokinetics
                and toxicodynamics, the mechanisms that account for the biologic effects,
                metabolism, and excretion of toxic substances. Animal studies are also
                useful for generating hypotheses that can be tested through studies of hu-
                man health outcomes in controlled exposures, clinical studies, or epidemio-
                logic investigations, and they are useful for risk assessment that informs
                regulatory and policy decisions.
                     Research reviewed in Chapter 4 shows that molds that can produce
                mycotoxins under the appropriate environmental and competitive condi-
                tions can and do grow indoors. Damp indoor spaces may also facilitate the
                growth of bacteria that can have toxic and inflammatory effects. Little
                information exists on the toxic potential of chemical releases resulting from
                dampness-related degradation of building materials, furniture, and the like.
                     In vitro and in vivo studies have demonstrated adverse effects—includ-
                ing immunotoxic, neurologic, respiratory, and dermal responses—after ex-
                posure to specific toxins, bacteria, molds, or their products. Such studies
                have established that exposure to microbial toxins can occur via inhalation
                and dermal exposure and through ingestion of contaminated food. Animal
                studies provide information on the potency of many toxins isolated from
                environmental samples and substrates from damp buildings, but the doses
                of such toxins required to cause adverse health effects in humans have not
                been determined. In vitro and in vivo research on Stachybotrys chartarum
                suggests that effects in humans may be biologically plausible, although this
                observation requires validation from more extensive research before con-
                clusions can be drawn.
                     Among the other research needs identified in the chapter is further
                development of techniques for detecting and quantifying mycotoxins in
                tissues in order to inform questions of interactions and the determination of
                exposures resulting in adverse effects. The committee also recommends that
                animal studies be initiated to evaluate the effects of long-term (chronic)


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                exposures to mycotoxins via inhalation. Such studies should establish dose-
                response, lowest-observed-adverse-effect levels, and no-observed-adverse-
                effect levels for identified toxicologic endpoints in order to generate infor-
                mation for risk assessment that is not available from presently-available
                studies of acute, high-level exposures.


                     Human Health Effects Associated with Damp Indoor Environments
                     The committee used a uniform set of categories to summarize its con-
                clusions regarding the association between health outcomes and exposure
                to indoor dampness or the presence of mold or other agents in damp indoor
                environments, as listed in Box ES-1. The distinctions among categories
                reflect the committee’s judgment of the overall strength, quality, and per-
                suasiveness of the scientific literature evaluated. Chapter 1 details the meth-
                odologic considerations underlying the evaluation of epidemiologic evidence
                and details the definitions of the categories.




                                               BOX ES-1
                        Summary of the Categories of Evidence Used in This Report

                       Sufficient Evidence of a Causal Relationship
                          Evidence is sufficient to conclude that a causal relationship exists between the
                       agent and the outcome. That is, the evidence fulfills the criteria for “sufficient evi-
                       dence of an association” and, in addition, satisfies the following criteria: strength of
                       association, biologic gradient, consistency of association, biologic plausibility and
                       coherence, and temporally correct association.
                       Sufficient Evidence of an Association
                           Evidence is sufficient to conclude that there is an association. That is, an asso-
                       ciation between the agent and the outcome has been observed in studies in which
                       chance, bias, and confounding can be ruled out with reasonable confidence.
                       Limited or Suggestive Evidence of an Association

                          Evidence is suggestive of an association between the agent and the outcome
                       but is limited because chance, bias, and confounding cannot be ruled out with
                       confidence.

                       Inadequate or Insufficient Evidence to Determine Whether an
                       Association Exists
                           The available studies are of insufficient quality, consistency, or statistical pow-
                       er to permit a conclusion regarding the presence of an association. Alternatively,
                       no studies exist that examine the relationship.




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                     Tables ES-1 and ES-2 summarize the committee’s findings. The conclu-
                sions are not applicable to persons with compromised immune systems,
                who are at risk for fungal colonization and opportunistic infections.
                     Conclusions regarding exposure to agents associated with damp indoor
                environments are limited by the means used to assess exposure in the epide-
                miologic studies reviewed by the committee. For the most part, studies have
                relied on occupants’ observations of the presence of “mold” or “moldy
                odor.” Relatively few research efforts have used trained observers or mea-
                surements to attempt to discern which microbial agents are present, the
                extent of their growth, or whether there are specific common potential
                exposures (other than dampness). When the committee is drawing a conclu-
                sion about the association between exposure to a damp indoor environ-
                ment and a health outcome, it is not imposing the assumption that the
                outcome is necessarily a result of exposure to a particular mold or to
                microbial agents in general. In some circumstances, a paper addresses the
                association between a particular indoor dampness-related exposure and a
                health outcome. However, even in those cases, it is likely that people are
                being exposed to multiple agents.
                     The committee has drawn conclusions about the state of the scientific
                literature regarding associations of health outcomes with two circumstances:

                TABLE ES-1 Summary of Findings Regarding the Association Between
                Health Outcomes and Exposure to Damp Indoor Environmentsa
                Sufficient Evidence of a Causal Relationship
                (no outcomes met this definition)
                Sufficient Evidence of an Association
                Upper respiratory (nasal and throat) tract symptoms                 Wheeze
                Cough                                                               Asthma symptoms in sensitized
                                                                                      asthmatic persons
                Limited or Suggestive Evidence of an Association
                Dyspnea (shortness of breath)                                       Asthma development
                Lower respiratory illness in otherwise-healthy
                  children
                Inadequate or Insufficient Evidence to Determine Whether an Association Exists
                Airflow obstruction (in otherwise-healthy persons)    Skin symptoms
                Mucous membrane irritation syndrome                   Gastrointestinal tract problems
                Chronic obstructive pulmonary disease                 Fatigue
                Inhalation fevers (nonoccupational exposures)         Neuropsychiatric symptoms
                Lower respiratory illness in otherwise-healthy adults Cancer
                Acute idiopathic pulmonary hemorrhage in infants      Reproductive effects
                                                                      Rheumatologic and other
                                                                        immune diseases
                aThese conclusions are not applicable to immunocompromised persons, who are at increased
                risk for fungal colonization or opportunistic infections.



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                TABLE ES-2 Summary of Findings Regarding the Association Between
                Health Outcomes and the Presence of Mold or Other Agents in Damp
                Indoor Environmentsa
                Sufficient Evidence of a Causal Relationship
                (no outcomes met this definition)

                Sufficient Evidence of an Association
                Upper respiratory (nasal and throat) tract symptoms                 Wheeze
                Asthma symptoms in sensitized asthmatic persons                     Cough
                Hypersensitivity pneumonitis in susceptible personsb

                Limited or Suggestive Evidence of an Association
                Lower respiratory illness in otherwise-healthy children

                Inadequate or Insufficient Evidence to Determine Whether an Association Exists
                Dyspnea (shortness of breath)                         Skin symptoms
                Airflow obstruction (in otherwise-healthy persons)    Asthma development
                Mucous membrane irritation syndrome                   Gastrointestinal tract problems
                Chronic obstructive pulmonary disease                 Fatigue
                Inhalation fevers (nonoccupational exposures)         Neuropsychiatric symptoms
                Lower respiratory illness in otherwise-healthy adults Cancer
                Rheumatologic and other immune diseases               Reproductive effects
                Acute idiopathic pulmonary hemorrhage in infants
                aThese conclusions are not applicable to immunocompromised persons, who are at increased
                risk for fungal colonization or opportunistic infections.
                bFor mold or bacteria in damp indoor environments.




                exposure to a damp indoor environment, and the presence of mold or other
                agents in a damp indoor environment. As already noted, the term dampness
                has been applied to a variety of moisture problems in buildings. Most
                of the studies considered by the committee did not specify which agents
                were present in the buildings occupied by subjects, and this probably varied
                between and even within study populations.
                     The committee found sufficient evidence of an association between
                exposure to damp indoor environments and some respiratory health out-
                comes: upper respiratory tract (nasal and throat) symptoms, cough, wheeze,
                and asthma symptoms in sensitized asthmatic persons. Epidemiologic stud-
                ies also indicate that there is sufficient evidence to conclude that the pres-
                ence of mold (otherwise unspecified) indoors is associated with upper respi-
                ratory symptoms, cough, wheeze, asthma symptoms in sensitized asthmatic
                persons, and hypersensitivity pneumonitis (a relatively rare immune-medi-
                ated condition) in susceptible persons.
                     Limited or suggestive evidence was found for an association between
                exposure to damp indoor environments and dypsnea (the medical term for


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                shortness of breath), lower respiratory illness in otherwise-healthy children,
                and the development of asthma in susceptible persons. It is not clear whether
                the latter association reflects exposure to fungi or bacteria or their constitu-
                ents and emissions, to other exposures related to damp indoor environ-
                ments, such as dust mites and cockroaches, or to some combination thereof.
                The responsible factors may vary among individuals. For the presence
                of mold (otherwise unspecified) indoors, there is limited or suggestive
                evidence of an association with lower respiratory illness in otherwise-healthy
                children.
                     Inadequate or insufficient information was identified to determine
                whether damp indoor environments or the agents associated with them are
                related to a variety of health outcomes listed in Tables ES-1 and -2. In-
                cluded among these is acute idiopathic pulmonary hemorrhage in infants
                (AIPHI). The committee concluded that the available case-report informa-
                tion constitutes inadequate or insufficient information to determine whether
                an association exists between AIPHI and the presence of Stachybotrys
                chartarum or exposure to damp indoor environments in general. AIPHI is a
                serious health outcome, and the committee encourages the CDC to pursue
                surveillance and additional research on the issue to resolve outstanding
                questions.
                     The committee considered whether any of the health outcomes listed
                above met the definitions for the categories “sufficient evidence of a causal
                relationship” and “limited or suggestive evidence of no association” de-
                fined in Chapter 1, and concluded that none did.
                     It offers some additional observations on research needs and recom-
                mendations for action:

                     • Indoor environments subject occupants to multiple exposures that
                may interact physically or chemically with one another and with the other
                characteristics of the environment, such as humidity, temperature, and ven-
                tilation rate. Few studies to date have considered whether there are additive
                or synergistic interactions among these factors. The committee encourages
                researchers to collect and analyze data on a broad range of exposures and
                factors characterizing indoor environments in order to inform these ques-
                tions and possibly point the way toward more effective and efficient inter-
                vention strategies.
                     • The committee encourages the CDC to pursue surveillance and addi-
                tional research on acute pulmonary hemorrhage or hemosiderosis in infants
                to resolve questions regarding this serious health outcome. Epidemiologic
                and case studies should take a broad-based approach to gathering and
                evaluating information on exposures and other factors that would help to
                elucidate the etiology of acute pulmonary hemorrhage or hemosiderosis
                in infants, including dampness and agents associated with damp indoor


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                environments; environmental tobacco smoke (ETS) and other potentially
                adverse exposures; and social and cultural circumstances, race/ethnicity,
                housing conditions, and other determinants of study subjects’ health.
                    • Concentrations of organic dust consistent with the development of
                organic dust toxic syndrome are very unlikely to be found in homes or
                public buildings. However, clinicians should consider the syndrome as a
                possible explanation of symptoms experienced by some occupants of highly
                contaminated indoor environments.
                    • Greater research attention to the possible role of damp indoor envi-
                ronments and the agents associated with them in less well understood
                disease entities is needed to address gaps in scientific knowledge and con-
                cerns among the public.

                           Prevention and Remediation of Damp Indoor Environments
                     Homes and other buildings should be designed, operated, and main-
                tained to prevent water intrusion and excessive moisture accumulation
                when possible. When water intrusion or moisture accumulation is discov-
                ered, the source should be identified and eliminated as soon as practicable
                to reduce the possibility of problematic microbial growth and building-
                material degradation. The most effective way to manage microbial con-
                taminants, such as mold, that are the result of damp indoor environments is
                to eliminate or limit the conditions that foster its establishment and growth.
                That also restricts the dampness-related degradation of building materials
                and furnishings.
                     Information is available on the sources of excessive indoor dampness
                and on the remediation of damp indoor conditions and its adverse conse-
                quences. Chapter 6 summarizes several sources of guidance on how to
                respond to various indoor microbial contamination situations. However, as
                the committee observes, determining when a remediation effort is war-
                ranted or when it is successful is necessarily subjective because there are no
                generally accepted health-based standards for acceptable concentrations of
                fungal spores, hyphae, or metabolites in the air or on surfaces.
                     There is a great deal of uncertainty and variability in samples of mold
                and other microbial materials taken from indoor air and surfaces, but the
                information gained from a careful and complete survey may aid in the
                evaluation of contamination sources and remediation needs. Visible sur-
                faces and easily accessible spaces are not the only source of microbial
                contaminants, however, and the potential for exposure from sources in
                spaces such as attics, crawl spaces, wall cavities, and other hidden or seldom-
                accessed areas is poorly understood.
                     When microbial contamination is found, it should be eliminated by
                means that not only limit the possibility of recurrence but also limit expo-


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                sure of occupants and persons conducting the remediation. Disturbance of
                contaminated material during remediation activities can release microbial
                particles and result in contamination of clean areas and exposure of occu-
                pants and remediation workers. Containment during clean-up (through the
                erection of barriers, application of negative air pressure, and other means)
                has been shown to prevent the spread of microbial particles to noncon-
                taminated parts of a contaminated building. The amount of containment
                and worker personal protection and the determination of whether occupant
                evacuation is appropriate depend on the magnitude of contamination.
                     Notwithstanding the interest in the topic, very few controlled studies
                have been conducted on the effectiveness of remediation actions in elimi-
                nating problematic microbial contamination in the short and long term or
                on the effect of remediation actions on the health of building occupants. In
                addition, the available literature addresses the management of microbial
                contamination when remediation is technically and economically feasible.
                There is no literature addressing situations where intervening in the moisture
                dynamic or cleaning or removing contaminated materials is not practicable.
                     Among the research needs identified by the committee are studies that
                better characterize the effectiveness of remediation assessment and remedia-
                tion methods in different contamination circumstances, the dynamics of
                movements of contaminants from colonies of mold and other microorgan-
                isms in spaces such as attics, crawl spaces, exterior sheathing, and garages,
                and the effectiveness of various means of protection of workers and occu-
                pants during remediation activities. Standard methods should be formulated
                to assess the potential of new materials, designs, and construction practices to
                cause or exacerbate dampness problems. And research should be performed
                to address the other data gaps discussed above and to determine

                     • How free of microbial contamination a surface or building material
                must be to eliminate problematic exposure of occupants and in particular,
                how concentrations of microbial contamination left after remediation are
                related to those found on ordinary surfaces and materials in buildings where
                no problematic contamination is present.
                     • Whether and when microbial contamination that is not visible
                to the naked eye but is detectable through screening methods should be
                remediated.
                     • The best ways to open a wall or other building cavity to seek hidden
                contamination while controlling the release of spores, microbial fragments,
                and the like.
                     • The effectiveness of managing contamination in place by using nega-
                tive air pressure, encapsulation, and other means of isolation.
                     • How to measure the effectiveness and health effects of a remediation
                effort.


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                                                  The Public Health Response
                     On the basis of its review of the scientific papers and other informa-
                tion summarized above and detailed in the report, the committee con-
                cludes that excessive indoor dampness is a public-health problem. An
                appropriate public health goal should thus be to prevent or reduce the
                incidence of potentially problematic damp indoor environments, that is,
                environments that may be associated with undesirable health effects, par-
                ticularly in vulnerable populations. However, there are serious challenges
                associated with achieving that goal. As the report indicates, there is insuf-
                ficient information on which to base quantitative recommendations for
                either the appropriate level of dampness reduction or the “safe” level of
                exposure to dampness-related agents. The relationship between dampness
                or particular dampness-related agents and health effects is sometimes
                unclear and in many cases indirect. Questions of exposure and dose have
                not, by and large, been resolved. It is also not possible to objectively rank
                dampness-related health problems within the larger context of threats to
                the public’s health because there is insufficient information available to
                confidently quantify the overall magnitude of the risk resulting from ex-
                posures in damp indoor environments.
                     Institutional and social barriers may hinder the widespread adoption of
                technical measures and practices that could prevent or reduce problematic
                indoor dampness. Economic factors, for example, encourage poor practice
                or impede remediations; they may also create incentives to forgo or limit
                investment in maintenance that might help to prevent moisture problems.
                     Given these challenges, the committee identifies seven areas of endeavor
                that deserve discussion in the formulation of public health mechanisms to
                prevent or reduce the incidence of damp indoor environments:

                     • Assessment and monitoring of indoor environments at risk for prob-
                lematic dampness.
                     • Modification of regulations, building codes, and building-related
                contracts to promote healthy indoor environments; and enforcement of
                existing rules.
                     • Creation of incentives to construct and maintain healthy indoor
                environments; and financial assistance for remediation where needed.
                     • Development, dissemination, and implementation of guidelines for
                the prevention of dampness-related problems.
                     • Public-health-oriented research and demonstration projects to evalu-
                ate the short-term and long-term effectiveness of intervention strategies.
                     • Education and training of building occupants, health professionals,
                and people involved in the design, construction, management, and mainte-




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                nance of buildings to improve efforts to avoid or reduce dampness and
                dampness-related health risks.
                    • Collaborations among stakeholders to achieve healthier indoor
                environments.

                    Among the recommendations the committee offers for implementing
                the actions it suggests are these:

                     • CDC, other public-health-related, and building-management-
                related funders should provide new or continuing support for research
                and demonstration projects that address the potential and relative benefit
                of various strategies for the prevention or reduction of damp indoor
                environments, including data acquisition through assessment and moni-
                toring, building code modification or enhanced enforcement, contract
                language changes, economic and other incentives, and education and train-
                ing. These projects should include assessments of the economic effects of
                preventing building dampness and repairing damp buildings and should
                evaluate the savings generated from reductions in morbidity and gains in
                the useful life of structures and their components associated with such
                interventions.
                     • Carefully designed and controlled longitudinal research should be
                undertaken to assess the effects of population-based housing interventions
                on dampness and to identify effective and efficient strategies. As part of
                such studies, attention should be paid to definitions of dampness and to
                measures of effect; and the extent to which interventions are associated
                with decreased occurrence of specific negative health conditions should be
                assessed when possible.
                     • Government agencies with housing-management responsibility should
                evaluate the benefit of adopting economic-incentive programs designed to
                reward actions that prevent or reduce building dampness. Ideally, these should
                be coupled with independent assessments of effectiveness.
                     • HUD or another appropriate government agency with responsibility
                for building issues should provide support for the development and dis-
                semination of consensus guidelines on building design, construction, opera-
                tion, and maintenance for prevention of dampness problems. Development
                of the guidelines should take place at the national level and should be under
                the aegis of either a government body or an independent nongovernment
                organization that is not affiliated with the stakeholders on the issue.
                     • CDC and other public-health-related funders should provide new or
                continuing support for research and demonstration projects that:
                       — Develop communication instruments to disseminate information
                derived from the scientific evidence base regarding indoor dampness, mold



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                and other dampness-related exposures, and health outcomes to address
                public concerns about the risk from dampness-related exposures, indoor
                conditions, and causes of ill health.
                       — Foster education and training for clinicians and public-
                health professionals on the potential health implications of damp indoor
                environments.
                    • Government and private entities with building design, construction,
                and management interests should provide new or continuing support for
                research and demonstration projects that develop education and training
                for building professionals (architects, home builders, facility managers and
                maintenance staff, code officials, and insurers) on how and why dampness
                problems occur and how to prevent them.
                    • Those formulating the education and training programs discussed
                above should include means of evaluating whether their programs are reach-
                ing relevant persons and, ideally, whether they materially affect the occur-
                rence of moisture or microbial contamination in buildings or occupant
                health.


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                         Exhibit 3
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                                                              Andrew Saxon, MD, Professor, Emeritus Chief
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                            REPORT OF ANDREW SAXON, M.D.
                               RE: Ms. Beckemeyer vs GELCO



I.     QUALIFICATIONS
My name is Andrew Saxon, M.D. I am a licensed physician in the State of California
specializing in the area of Clinical Immunology & Allergy. I am the founder and emeritus chief
of the Division of Clinical Immunology and Allergy at the UCLA School of Medicine, Los
Angeles, California. I am currently a Professor of Medicine at the David Geffen School of
Medicine at UCLA.
I received my medical degree from Harvard Medical School in Boston, Massachusetts, in
1972. I completed my residency in internal medicine at Harbor General Hospital in Los
Angeles, California, in 1975, and my post-doctoral training in immunology in the Department of
Microbiology and Immunology at the UCLA School of Medicine in 1977. I am a licensed
physician in California through the National Board of Medical Examiners. I am board certified in
(1) Internal Medicine by the American Board of Internal Medicine, (2) Allergy and Immunology
by the American Board of Allergy and Immunology, and (3) Diagnostic Laboratory Immunology
by the American Board of Diagnostic Laboratory Immunology. I founded the Division of
Clinical Immunology and Allergy in the Department of Medicine at UCLA in 1977 and served
as its Chairman for 30 years. I also founded the UCLA Asthma, Allergy, and Immunologic
Disease Center and served as Director until the time of my retirement. I have published over
190 scientific papers in peer-reviewed journals in the field of immunology and I provide many
editorial/review services for such journals including for over a decade being Editor in Chief of
Clinical Immunology, the official journal of the Clinical Immunology Society. I also have served
on peer-review funding committees for the National Institutes of Health and other organizations
as well as chair the Allergy/Asthma section of the Immune Tolerance Network, a major
undertaking by the National Institutes of Health and private institutions to discover true cures
for immune mediated disorders.
I am a co-author of the American College of Occupational & Environment Medicine (ACOEM)
original Position Statement entitled: Adverse Human Health Effects Associated with Molds in
the Indoor Environment that appeared in 2002. ACOEM represents more than 6,000
physicians and other health care professionals and is the nation's largest medical society of
individuals specializing in the field of occupational and environmental medicine. I am also a co-
author of the American Academy of Allergy Asthma and Immunology’s (AAAAI) official Position
statement entitled “The Health Effects of Molds” which appeared in 2006. The AAAAI, with
over 5000 members, is the nation’s largest medical subspecialty society specifically dealing
with the allergic and immune aspects of mold exposures.

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Further elaboration of my professional background, prior publications and credentials is given
in the attached true and correct copy of my curriculum vitae and bibliography (Attachment
“A”).


II.     DATA RELIED UPON
  A.    The basis of my testimony includes my education, clinical and basic science training,
        experience, and review of both basic and clinical studies regarding humans and the
        immune system. This includes basic studies performed in the test tube and in animals
        regarding mold and related substances, my own research in human and animal immune
        reactivity, review of the exhibits, depositions and opinions of identified plaintiff experts,
        my extensive reading in the areas of immunology which includes allergy, autoimmunity,
        cancer of the immune system (lymphomas), and related areas, and my clinical
        experience including the diagnosis and management of patients with immunologically
        related disorders.
  B.    Included in this is extensive analysis of the literature relating to mold/fungal related
        illness in humans including the Institute of Medicine’s 2004 Publication “Damp indoor
        spaces and Health” (Executive Summary provided as Attachment “B”), the American
        College of Medical Toxicology’s Statement in Support of the Institute of Medicine’s
        report (Attachment “C”) and the 2009 World Health Organization (2009) Guidelines for
        Indoor Air Quality (Executive Summary provided as Attachment “D”)..I am also relying
        upon the 2018 German review (Attachment E), the 2017 review by Borchers and
        Gershwin (Attachment “F”), the Position Statement of the American College of
        Occupational and Environmental Medicine promulgated by the Society in 2011
        (Attachment “G”) and the 2006 Position Statement of the American Academy of
        Allergy, Asthma and Immunology, Asthma and Immunology (Attachment “H”.) I have
        also analyzed the 2008 General Accounting Office document entitled “Indoor Mold:
        Better Coordination of Research on Health Effects and More Consistent Guidance
        Would Improve Federal Efforts.” (Attachment “I”.)
  C.    I am also relying upon my analysis of the case-specific materials provided to me. This
        includes:
        C1. Medical records of the plaintiff Melanie Ann Beckemeyer PharmD from the following
           sources that span the timeframe March 2001 through July 2018.
            •   Allergy and Asthma Specialty Group.
            •   Bernstein Allergy Group.
            •   Bethesda Alcohol and Drug Treatment (no records)
            •   Huber personalized medicine (Dr. Gray Huber, Integrative Medicine)
            •   Kroger Little Clinic.
            •   Liberty Urgent Care.
            •   Dr. Harold T. Pretorius.
            •   Plaintiff produced 2315 pages of medical documents that include the records of
                Dr. Craig P. Cleveland.
            •   Blue Ash Family Medicine
            •   Report of Richard Sexton, PhD of April 2017.

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         C2. Environmental records
             •   The Report of Jeremy Porter, PMP dated 11.6.18
             •   Report from Ecostratum dated 7.25.18 for vehicle testing on 7.9.18
         C3. Legal Documents
             •   Complaint filed in this matter.
             •   Discovery responses filed in this matter
             •   Depositions of Ms. Melanie Beckemeyer, PharmD. dated 9.27.18 and 11.5.18
             •   Expert Report of Dr. Scott McMahon in Beckemeyer vs. GELCO 8.31.18
             •   Expert Report of Dr. Scott McMahon in Fleming v Baker 3.29.17 (Attachment
                 “J”)
             •   Deposition Testimony of Dr. Scott McMahon in Fleming v Baker 4.7.17
                 (Attachment “K”)
             •   Depositions of Scott W. McMahan in Courcelle v. CW NOLA PROPERTIES
                 dated 8.18.17 and 5.18.18 Attachment “L”)
             •   Declaration Of Scott W. Mc Mahon, MD in Courcelle v. CW NOLA Properties
                 Dated 8.15.17
             •   United States District Court Western District of Washington At Seattle, Court
                 order 16356136 dated 8.13.15 in Haneet Kumar, et al., v. Williams Portfolio 7,
                 Inc. (Attachment “K”)



III.     OPINIONS
IIIA.    Opinions about Plaintiff, Ms. Melanie Ann Beckemeyer, PharmD.
Background: In this section, I will address Ms. Beckemeyer’s actual medical conditions as
shown by the evidence in her medical records. By way of timeframe, Ms. Beckemeyer was in
possession of the vehicle in question from May 4, 2016 through September 30, 2016. She
reported to her doctor that the last time she was in the car was September 23, 2016.
Ms. Melanie Beckemeyer, date of birth 6.5.58. Ms. Beckemeyer is 60-year old woman. She
was reported to be 5’7’ tall and weighed 145 lbs. on 6.26.17, the last weight I see recorded.
Her medical records state that she is a non-smoker and that she would drink two to four
alcoholic beverages/week. The medical records relating to Ms. Beckemeyer indicate to me that
she has the following medical issues:
Hypertension- high blood pressure with secondary cognitive Issues due to small vessel
ischemic changes.
Ms. Beckemeyer has had high blood pressure for many years. She was reported to have
hypertension in 2001 in her first available medical record. She has been maintained on anti-

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hypertensive medication (Irbesartan most recently) for a number of years and was taking that
medication at the time of her 11.5.18 deposition. Common side effects of Irbesartan include
dizziness, fatigue, indigestion, diarrhea and heartburn. She reported no renal disease,
coronary artery disease or stroke related to her hypertension.. However, a MRI of her brain on
6.13.17 showed “microangiopathic white matter disease consistent with chronic small vessel
ischemia, most often seen in manifestation of hypertensive atherosclerosis or metabolic
factors.” There was also mild right greater than left hippocampal atrophy that potentially may
correlate with memory symptoms possibly related to early manifestation of mild cognitive
impairment syndrome. A NeuroQuant study the same day was read as normal. Ms.
Beckemeyer’s records reflect she has been having concerns about her cognitive abilities since
sometime in 2016. She referred herself to a neuropsychologist, Richard Sexton, PhD who saw
her in May of 2017. He reported that; “Overall, the results of the present assessment
suggested that Dr. Beckemeyer is a person of above average intellectual abilities, who
maintains overall cognitive/functional integrity. She demonstrated relative strengths in
conceptualization, visual-spatial construction, attention, and non-verbal immediate and short-
term ("working") memory/reasoning, as well as naming. She demonstrated relative
weaknesses in orally-presented words/stories, delayed visual/spatial and verbal recall, and
rote verbal repetition in immediate-, short-, and long-term aspects. Based onher educational
and occupational/vocational history, it might be inferred that her pattern of performance
might reflect a reduction from premorbid levels in the areas noted above. It is not the general
pattern observed in the normal aging process or related to any emotional factor, as any
reported symptoms (e.g. anxiety) were not at a disabling level. The pattern would appear to
reflect the impact of vascular brain changes (emphasis added) or the possibility of
neurotoxin exposure.”

Assessment and opinion.
It is my opinion that Ms. Beckemeyer has long-standing hypertension with underlying
microvascular CNS changes resulting in a mild impairment of certain cognitive functions. Long
standing hypertension with secondary microvascular changes is a very common scenario in a
63-year-old person. In contrast, exposures to molds, bacteria and their byproducts such as Ms.
Beckemeyer may have had in the car in question or anywhere else are not going to involve
exposure to direct neurotoxins to any significant degree. Another factor driving in Ms.
Beckemeyer’s cognitive complaints is her response to anxiety/stress as discussed below.

Upper Respiratory and external ocular symptoms: Allergic Rhinitis & Allergic Conjunctivitis,
Ms. Beckemeyer has seen an allergist, Dr. Ahmad since 2001. When he first saw her, she told
him she had had “allergies” for more than 10 years. Ms. Beckemeyer had allergy testing by
Dr. Ahmad in 2004. The only testing results in the records from 2004are those from
intradermal testing that showed weakly positive tests to dust mites, cat, dog and “mold 2”.
While “prick tests are “circled” and presumably done at some point before the intradermal
tests, no results of prick testing is available. Ms. Beckemeyer stated in her deposition that she
received 3-4 years of allergy immunotherapy injections from Dr. Ahmad. The records of those
injections and their composition is not in Dr. Ahmad’s records that I received. Dr. Ahmad saw
Ms. Beckemeyer on again in February 2012 and then again in 2016. He had Ms. Beckemeyer
undergo allergy testing on 12.27.16. Thirty eight allergy Prick tests were done and only
Epicoccum and Fusarium were recorded as “positive “at 3+ with soy at 1+ and peanut was

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read as 1-2+. However, there is no reading scale for these tests nor is there a positive
(histamine) or negative (saline) control result provided. Intradermal testing on that date was
read as 1+ to cat and dog, 2+ to Molds 2 and 0 to Molds 1. Ms. Beckemeyer’s records do not
give any evidence of her having asthma. Ms. Beckemeyer has never been heard to wheeze in
spite of multiple physical examinations of her lungs nor has any doctor even suggested she
undergo breathing tests to look into this issue. While a number of medical records say she has
“asthma”, others say she does not. Ms. Beckemeyer herself testified in her deposition that she
does not have asthma.
Assessment and Opinion.
It is my opinion that the data is unclear whether Ms. Beckemeyer is an allergic (atopic) person
with allergic rhinitis and allergic conjunctivitis. Her history and physical examinations would
indicate that is a reasonable diagnosis. However, the testing by Dr. Ahmad is problematic. The
accurate form of allergy skin testing is prick testing while intradermal testing is fraught with the
problem of false positive tests and particularly so in the face of multiple negative prick tests.
The records I have only contain Ms. Beckemeyer’s 2004 intradermal allergy skin testing, not
her prick test results. However, it is reasonable to assume that the prick tests for molds,
pollens, dust mites and animal dander were negative for one would never do intradermal
testing to allergens that were positive on prick testing. The sets of allergy tests in December
2016 have no controls and provide no reading scales. Here the only “positive” prick tests were
Epicoccum and Fusarium.
It is my opinion that, given the flaws in Dr. Ahmad’s testing, I would not rely upon them to make
medical diagnosis of inhalant allergy or to exclude it. I would recommend Ms. Beckemeyer
gets reliable allergy blood testing done with the ImmunoCap II or equivalent third generation of
allergy blood testing to determine what, if any, allergens she is allergic to.
It is my opinion that even if Ms. Beckemeyer is an allergic subject and the testing at Dr.
Ahmad’s office is accurate, the only allergens identified by the prick testing were Epicoccum
and Fusarium and her exposure to these in the vehicle in question would have been far less
than her exposure from outside air as discussed in Mr. Porter’s report.
It is my opinion that Ms. Beckemeyer does not have asthma, allergic or otherwise.
Status post turbonectomy and septoplasty. Ms. Beckemeyer reports that she underwent a
nasal turbonectomy and septoplasty prior to 2001. The reasons and date for this surgery are
not elucidated in the medical records.
Assessment and opinion
It is my opinion that Ms. Beckemeyer’s turbonectomy and septoplasty would have be related to
cosmesis, anatomic nasal obstruction and her rhinitis (allergic or otherwise) which is discussed
above..
Anxiety, Panic Attacks and Depression.
Ms. Beckemeyer records from Blue Ash Family Medicine document that she has had problems
with depression, anxiety and panic attacks since 2011. Ms. Beckemeyer reported to those
doctors that her stress in 2011 was related to both her job and her personal life. She was
begun on Celexa, an antidepressant on September 8, 2011. When seen on September 26,
2011, she reported she felt that “she cannot complete tasks that require organization and


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higher levels of cognition in a reasonable amount of time due to ongoing anxiety.” She
remained on Celexa, through 7.1.16 and was to continue it according to the records but the
note from 9.7.16 does not include Celexa in the medications she is taking. The records are
silent whether Beckemeyer was advised to stop Celexa by her physicians or if she stopped it
on her own. Ms. Beckemeyer did not identify Celexa as a medication she was taking at the
time of her deposition on 11.5.18. Ms. Beckemeyer had taken Xanax, an anxiolytic in the
1990’s. She testified in her deposition that she was taking Xanax for dizziness and balance
issues she was having at the time and in fact, illegally wrote herself a prescription for this drug
which resulted in her being arrested and having her pharmacy license revoked for a time.
By mid 2017, Ms. Beckemeyer had developed a whole panoply of ongoing symptoms that she
felt were related to her exposure to the vehicle in question which ended the previous
September, The symptoms she reported on 7.5.17 included disturbed sleep, fatigue, joint
pain/swelling, bladder problems, buzzing/ringing/ear pain, ,blurry vision, disorientation,
forgetfulness, loss of libido, unexplained hair loss, vertigo, confusion, difficulty with
concentration, and swollen glands. She endorsed mood swings/irritability/depression at that
time as well.
Assessment and Opinion.
It is my opinion that Ms. Beckemeyer has a generalized anxiety disorder with panic attacks and
major depressive illness. Notably, when anxious in the past, she reported cognitive symptoms
very similar to what she reports now. It is my opinion that her anxiety/mood issues color and
magnify her symptoms, e.g. fatigue from medications, cognitive changes etc. as well drive
such symptoms on their own as such mood issues do in all patients. It is notable Ms.
Beckemeyer was no longer taking her antidepressant medication in the timeframe that she
began to report the increasing number of somatic symptoms, she now believes were due to
exposure mold in the vehicle in question. It is my opinion that Ms. Beckemeyer likely has
developed a somatic symptom disorder focused on her belief about the injury she received
from her mold exposure in the vehicle in question.
Vertigo/disequilibrium/dizziness:
Ms. Beckemeyer reports she first had problems with vertigo and disequilibrium when she was
diagnosed with Meniere’s disease in her 30s. She says that she underwent endolymphatic sac
surgery, reportedly in 1997, and had resolution of those symptoms. Those records are not
available to me. On 9.18.15, Ms. Beckemeyer saw her primary care physician for ear pressure
and being off balance that she described as feeling “swimmy.” She did not report true vertigo.
She also complained of nausea. At that visit, she requested a letter from the doctor to her
employer as she reported that the employer arranged shuttle from the airport was causing
nausea. She was treated with a short course of prednisone and a nasal steroid for presumed
eustachian tube dysfunction. On 9.29.15, Ms. Beckemeyer was seen in urgent care
complaining of problems with wooziness and vertigo that she attributed to have neck
manipulation for Temporal Mandibular Joint (TMJ) issues. She was found to lateralize
translational movements to the left on tandem positioning. Then in September of 2016, she
complained of increasing light-headedness and dizziness. Over the ensuring months, she had
an extensive work up for this including a neuro-otology consultation and no specific etiology
was found for her ongoing complaints of light-headedness and dizziness. These symptoms
persisted through the middle of 2017 at least.


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Assessment and Opinion.
It is my opinion that Ms. Beckemeyer’s more recent complaints of feeling dizzy and
lightheaded are most likely a manifestation of both her microvascular CNS disease that is
secondary to her long standing hypertension and her anxiety/stress.
Treatment with thyroid hormone Ms. Beckemeyer has been on thyroid hormone replacement
medication for many years. She said in her deposition that she was started on “glandular
thyroid” because someone felt she was low on thyroid. It is not clear in the records when she
first started taking thyroid hormone medication nor is it clear why she was placed on it. Her
anti-thyroid antibodies were negative indicating she does not have autoimmune thyroiditis, the
most common cause of hypothyroidism. Ms. Beckemeyer’s medical records also show that in
2017 she was taking too much thyroid hormone as documented by her very low TSH levels.
Her most recent TSH level in 7.26.18 was normal.
Assessment and Opinion.
It is my opinion that if Ms. Beckemeyer actually does have underlying thyroid disease, which is
not evident, it was pre-existing and any thyroid issues she may have are not related to
exposure to mold, mold byproducts or ambient bacteria. It is also my opinion that
overtreatment with thyroid hormone as in 2017 would exacerbate both her hypertension and
her anxiety and have other potential longer-term adverse health effects.
Polycystic Ovary Syndrome with insulin resistance. Ms. Beckemeyer reported that she had
been diagnosed with polycystic ovary syndrome and associated insulin resistance prior to
2012. There is no information to verify this diagnosis in the available medical records. Her
records also document she has been treated with Metformin for this condition for many years.
She was on metformin at the time of her deposition on 11.5.18. Her records do not give
evidence of hyperglycemia or diabetes.
Assessment and Opinion. It is my opinion that should Ms. Beckemeyer have polycystic ovary
syndrome; it was pre-existing and that condition is not related to exposure to mold, mold
byproducts or ambient bacteria.
Glaucoma, reportedly “familial.” Ms. Beckemeyer’s medical records report that on 6.12.14 she
reported that she had been seen for glaucoma and she stated this was “familial” There is no
other information about this issue in her records.
Assessment and Opinion. It is my opinion that if Ms. Beckemeyer has glaucoma, familial or
otherwise, it is unrelated to exposure to mold, mold byproducts or ambient bacteria.
Alternative health care and the pseudo-diagnosis of Chronic Inflammatory Response
Syndrome, aka “CIRS.” Ms. Beckemeyer has sought out a set of alternative health care
providers such as Drs. Huber, Cleveland and Shoemaker/McMahon for an increasing panoply
of symptoms that have persisted well after her alleged exposure ended. She has done so by
self-referral as she testified to in her deposition.
Assessment and Opinion. It is my opinion that, as discussed earlier, Ms. Beckemeyer has a
number of medical conditions including well-recognized psychiatric issues that contribute to
her overall set of complaints. However, Ms. Beckemeyer, a PharmD. who would not be
expected to be naïve in terms of what is generally accepted vs alternative/fringe medical care,
has sought out medical practitioners who practice alternative/fringe medicine. Ms.


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Beckemeyer self-referred herself to Dr. Huber who endorses “Shoemaker testing”, Dr.
Cleveland who gave her nystatin for “mold exposure” and then sought out Dr. Shoemaker who
referred her to his “trainee”, Dr. McMahon. This issue of her fringe medical care is discussed
below in Section IIID below.

IIIB.     Opinions re mechanisms of adverse health effects from exposure to mold/mold
          products in the home and office setting as related to the plaintiff, Ms.
          Beckemeyer.
Adverse health effects from mold and their byproducts occur via three main mechanisms,
Immune, Infectious and Toxic/irritant (all discussed in detail in Attachments “B” through
“H”). Each of these can be addressed in terms of whether Ms. Beckemeyer had/has evidence
for an adverse health effect from mold.
  i.      Immune effects: There are three main possible immune mediated diseases to consider.
          First is typical inhalant allergy that induces allergic rhinitis and allergic asthma. Ms.
          Beckemeyer’s respiratory issues were discussed in detail earlier so I will not repeat that
          analysis here. Essentially, the medical data regarding Ms. Beckemeyer indicate she
          may be one of the 10% of the population who has allergic sensitization to a variety of
          aeroallergens including molds. However, even if she were to be, her exposure in the
          vehicle in question would not be the source of allergic symptoms compared to regular
          outdoor air. The other forms of known immune adverse health effect from exposure to
          mold or mold byproducts are rare conditions known as allergic bronchopulmonary
          aspergillosis (ABPA) and hypersensitivity pneumonitis, There is no indication of Ms.
          Beckemeyer having these rare illnesses.
  ii.     Infection: Ms. Beckemeyer has had no mold infections. In fact, the records do not even
          reflect that she has had problems of mold infections that are common in the general
          population such as mold toenail infections or skin infections. I would add that oral or
          vaginal candida infections are due to a yeast, Candida albicans and is not due to a
          mold. That yeast is resident on normal mucosal surfaces in humans but overgrows to
          become an infection under a variety of circumstances unrelated to ambient
          environmental conditions.
 iii.     Toxic/Irritant effects
          a. Toxic effects. As discussed in Attachments B-H, M and N, toxic effects from
          inhalation of mold spores or other microbial agents in a residential setting or the vehicle
          in question essentially do not occur. This is simply a result of dose considerations; i) the
          number of spores a person can inhale, ii) the toxicity of mycotoxins on molar basis, iii)
          the maximum amount of mycotoxin per spore (Kelman BJ, et al. Int J Toxicol. 23:3-10,
          2004, Attachment “M“), iv) the half-life of mycotoxins in humans, and v) the no
          observed effect level (NOEL) for even the most potent mycotoxins (Hardin BD, et al. J.
          Toxicol. Environ. Health A. 72:585-98, 2009, Attachment “N”). Given all these factors,
          it is not tenable to propose toxicity resulting from inhalation of mold spores in the air
          found in the vehicle in question.
          b. Irritant effects. Irritant effects from mold can result from inhalation of a very large
          concentration of mold particulates in the air wherein the spores essentially become
          nuisance dust. Levels in the millions of spores/m3 or more would be required for this


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       effect, levels far beyond anything found in the vehicle in question. Additionally, in high
       enough concentrations, mold derived volatile organic compounds (VOCs), e.g. gasses
       that smell and give rise to the musty odor associated with mold, can cause local irritant
       effects, usually of the wet membranes of the eye, nose and mouth. However, VOC
       irritant effects generally occur at levels hundreds to thousands of times higher than the
       odor threshold. Furthermore, even if the plaintiff had had some local irritant effects from
       VOCs, albeit there is no data to support that supposition, such effects would have been
       transient by definition, and would have disappeared within a week or two of no longer
       being in the vehicle in question.
   Assessment and opinion.
   •   It is my opinion that the generally accepted mechanisms for mold and/or mold byproduct
       induced adverse health effects are not relevant to Ms. Beckemeyer’s medical issues. ,
       i.e. her complaints are not even potentially related to the mechanisms of accepted mold
       adverse health effects other than possibly some mild upper airway allergy.
IIIB. Opinions about the medical significance of the environmental testing and potential
exposures of Ms. Beckemeyer from the vehicle(s) in question.
Background: Ms. Beckemeyer had the vehicle in question, a 2014 Toyota RAV 4 limited
assigned to her from May 4, 2016 until September 30, 2016. During that time, she was living
in Butler Co Ohio and working in Ohio, Kentucky, and parts of Indiana.
The relevant metric for potential human exposure to mold and mold byproducts and
subsequent dose calculations is sampling of respirable air (Attachments “B”-“H”, “M” and
“N”.) While testing for molds and their byproducts on surfaces in a vehicle or home or inside
walls may have relevance to remediation efforts, there is no way to determine or even estimate
the levels of human exposure from such sources and to attempt to do so is speculation and not
generally accepted methodology for assessing human exposure. Additionally, the respirable air
sampling must be in a relevant timeframe in terms of when the individuals were in the location
being sampled. One cannot sample locations months or years after the individual was there
and say what was present when the subject was there.
Mr. Porter’s report provides an excellent summary of the Ms. Beckemeyer’s history of vehicle
use and an in depth analysis of the multitude of testing performed. He also discusses her
residence and work locale and their potential for airborne exposures to molds and other
materials. His report provides an excellent analysis of the relevance of testing for molds,
bacteria and endotoxin and their potential exposures and health effects and I will not repeat
that information here.
In addition to Mr. Porter’s report, there is a 7.25.18 Ecostratum report regarding on testing of
the vehicle in question on 7.9.18. There was only a single air sample taken. This nonviable
mold spore air testing in the vehicles interior air showed 1300 spores/m3 dominated by 690
basidiospores (mushroom spores), 480 ascospores, 27 Chaetomium and 53 Cladosporium
and 7 Alternaria. No Fusarium or Epicoccum spores were detected. No outdoor control sample
was taken. As noted in Mr. Porter’s report detailed report, these levels of are in fact low and
generally less than seen many days outside in the locale where Ms. Beckemeyer lived and is
living.
Assessment and Opinion


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It is my opinion that the only samples that are possibly relevant to potential adverse health
effects for Ms. Beckemeyer are the respirable air samples from the vehicle in question. Those
samples do not give evidence that the air in the vehicle would have represented any form of
health hazard to Ms. Beckemeyer.
It is my opinion that since the testing of vehicle was more than a year after Ms. Beckemeyer
was in the vehicle, it is speculation to say what the levels were at the time she was using it.
It is my opinion that respirable air levels of mold spores below 6500 spores/m3 are considered
“low” by the National Allergy Board and that is in terms of potential health effects for subjects
allergic to the mold in question. Given that the airborne levels measured of mold spores in the
vehicle in question for molds Ms. Beckemeyer may be allergic to, were in fact low and far
below those found in normal outdoor air in many places throughout the USA, the air in her
vehicle would not have represented any form of increased health hazard risk to her.

IIID.   Alternative/fringe health care and pseudo-diagnosis of Chronic Inflammatory
        Response Syndrome, aka “CIRS; Dr. Scott McMahon and Dr. Richie Shoemaker:
Dr. Scott McMahon is a pediatrician who practices medicine in Roswell, New Mexico. He
practiced pediatrics until 2009 when he met Dr. Richie Shoemaker and began to practice
under the title of the Whole World Healthcare, PC. Dr. McMahon states in his resume that he is
“specializing in the diagnosis and treatment of Chronic Immune Response Syndrome.” Dr.
McMahon advertises himself as “Certified in Shoemaker Protocol for the Treatment of Chronic
Immune Response Syndrome”. Dr. McMahon appears to be proud of the fact he was the “First
(Shoemaker) certified practitioner in the world” (McMahon Resume, page 1, March 2015), a
very dubious distinction indeed given that Dr. Shoemaker and his diagnosis and management
of his so-called Chronic Immune Response Syndrome are outside the widest bounds of
generally accepted medicine as will be discussed below. Dr. McMahon has had no post-
graduate formal education or training in immunology, clinical immunology, internal medicine, or
pulmonary medicine.
Dr. McMahon wrote a report dated 8.31.18 regarding Ms. Beckemeyer’s medical issues. Ms.
Beckemeyer testified that he examined her in a hotel room in Indianapolis Indiana on 7.30.18.
Dr. McMahon’s report says he also spoke with her on the phone on 7.24.18, and again on
8.19.18.
D1. McMahon report is focused on his opinion that Ms. Beckemeyer has chronic
inflammatory response syndrome (“CIRS”) and that CIRS is the only known illness that could
cause all the symptoms that Ms. Beckemeyer reports. Dr. McMahon clearly believes that the
overarching diagnosis for all Ms. Beckemeyer woes is CIRS. CIRS was invented by a former
practicing family physician, Dr. Richie Shoemaker. Indeed, Ms. Beckemeyer has discussed
her case with Dr. Shoemaker even though he is no longer licensed to practice medicine. The
report from Dr. McMahon about Ms. Beckemeyer is simply a recitation of the ideas put forth by
Dr. Shoemaker who has been marketing himself and his “patent pending” diagnosis of CIRS
(United States Patent Application Publication, Pub. No.: US 2014/0046143 A1 Shoemaker et
al., Pub. Date: Feb. 13, 2014, Methods For Diagnosing, Treating, And Monitoring Chronic
Inflammatory Response Syndrome).




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As proposed by Dr. Shoemaker and regurgitated by Dr. McMahon, CIRS represents an
sustained uncontrolled activation of the “innate immune system” resulting from indoor and
remarkably only indoor exposure to any/all of a host of potential microbes/microbial products
that results in a panoply of systemic and organ specific symptoms and signs. Additionally, they
proposes that exposure to such microbes/microbial products in the future will lead to enhanced
exacerbations of the subjects’ CIRS. According to Drs. Shoemaker and McMahon, there is no
detectable lower limit for an exposure that can induce CIRS.
Dr. Richie Shoemaker is a former family practice physician from Maryland who is a self-styled
“mold expert”. He withdrew from the practice medicine in 2013 while under investigation by
the Maryland Medical Board. Subsequently, the Maryland Medical Board issued a highly
critical reprimand letter to Dr. Shoemaker. (Attachment “O”). The Medical Board’s decision was
“should the physician resume the practice of medicine the physician will be placed on probation for
minimum of two years with terms and conditions. The board found the physician failed to meet the
standard of care.” https://www.mbp.state.md.us/bpqapp/PProfile.asp. Subsequently, Dr. Shoemaker
then began to market a program where for $3000; other physicians could be “certified” by Dr.
Shoemaker in his protocol for diagnosis and treatment of “CIRS.” Thus, Dr. Shoemaker trained and
“certified” Dr. McMahon.
   D1a. Assessment and Opinions re CIRS:
   •   It is my opinion that Dr. Shoemaker invented the “illness” he and others like Dr.
       McMahon currently call Chronic Immune Response Syndrome or “CIRS.” This
       purported syndrome is not generally accepted entity in the medical community. CIRS is
       a diagnosis that is unique to Dr. Shoemaker and his followers such as Dr. McMahon.
       Dr. Shoemaker has applied various terms (e.g. Biotoxin illness, Building Related Illness,
       Wet Building Syndrome) and variable criteria to this purported illness over the past 10+
       years.
   •   It is my opinion that Dr. Shoemaker and Dr. McMahon’s allegation that CIRS is self-
       sustaining reaction of the innate immune system is in direct conflict with what is known
       about the human innate immune response.
   •   It is my opinion that many of the battery of tests Drs. McMahon and Shoemaker use to
       support their diagnosis of CIRS are not generally accepted methodology for any
       purpose in clinical medicine much less for the purpose for which he employs them.
   •   It is my opinion that Drs. McMahon and Shoemaker fail to employ the proper tests to
       define if the type of condition he alleges CIRS represents, e.g. a systemic inflammatory
       response is actually present.
   •   It is my opinion that the proposed treatment of CIRS with cholestyramine, Welchol,
       erythropoietin and pioglitazone is both inappropriate and, in the case of the latter two
       medications, dangerous. I will use this use of oral cholestyramine by way of example to
       demonstrate the lack of logical thought by CIRS practitioners. Oral cholestyramine can
       bind to lipophilic (lipid-liking) negatively charged substances such as cholesterol in the
       GI tract. Thus, it can be used to remove orally ingested negatively charged lipophilic
       toxins and/or toxins that recirculate via the liver and biliary system. However, the mold
       toxins CIRS advocates allege they are dealing with are not ingested but inhaled thus
       they are not in the GI tract nor are mycotoxins excreted/recirculate via the liver/biliary
       system. Furthermore, mycotoxins are not negatively charged molecules. Thus giving
       oral cholestyramine for alleged mycotoxin inhalation exposure is completely illogical.


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       Furthermore, the time mycotoxins remain in the body is generally less than a week so
       the later or long term use of oral cholestyramine, even if it was capable of removing
       mycotoxins (which it is not), as suggested by Drs. Shoemaker and adopted by Dr.
       McMahon is illogical.
   •   It is my opinion that Dr. Shoemaker and Dr. McMahon’s proposal that immune
       responses in CIRS and in immunology in general fail to follow dose response
       relationships is profoundly mistaken and in direct contrast what is known about the
       immune system. All medicine including toxicology and immunology involve a dose
       response. For example, Dr. McMahon has alleged there is no dose response in
       anaphylaxis but that is completely mistaken. All of these events have a dose response
       even when there is an immune cascade that follows the triggering event.
       Immunologists clearly recognize the amplification fact of immune cascades but they are
       all dose dependent. Nothing Dr. McMahon, Dr. Shoemaker or others can say will alter
       the truth of the dose response in all of medical science as was first espoused by
       Paracelsus in the 15th Century.
   •   It is my opinion that the literature that Dr. Shoemaker and Dr. Mahon cite as actually
       supporting their opinions regarding CIRS has been generated by Dr. Shoemaker and
       his colleagues and true experts in the relevant fields do not generally accept that work
       as reliable.
   •   It is my opinion that given the shortcomings of Dr. Shoemaker’s methodology, theories
       and diagnoses, it is not surprising that Dr. Shoemaker testimony has been excluded by
       the courts on at least 11 occasions as listed in Attachment “P”
   •   It is my opinion that Dr. Shoemakers whole approach was soundly criticized by the
       Federal Bench in the Young matter (Attachment “Q”), a matter in which his testimony
       was excluded by the Court.
   •   It is my overarching opinion that Dr. McMahon, in diagnosing Ms. Beckemeyer with
       CIRS, is not practicing generally accepted medicine.
   Dr. McMahon alleges that the 2008 General Accounting Office document entitled “Indoor
   Mold: Better Coordination of Research on Health Effects and More Consistent Guidance
   Would Improve Federal Efforts.” validates a set of diagnostic criteria for CIRS.
   •   It is my opinion that Dr. McMahon’s statements that the GAO document validates a set
       of diagnostic criteria for CIRS is false. Nowhere in the entire GAO document does it
       mention CIRS or Dr. Shoemaker (or Dr. McMahon) and the document does not provide
       any form of validation of CIRS criteria. The document prepared by General Accounting
       Office of the Federal Government is not a scientific analysis of data. Its purpose was to
       analyze the research situation at a Federal level of effort. The GAO reviewed 20 written
       “reviews” and some government-generated documents. The conclusion of the
       document makes this agenda clear: “Better coordination of research on health efforts
       and more consistent guidance would improve federal efforts.” Clearly, the GAO
       document is not a scientific contribution but an analysis of governmental undertaking in
       the area of indoor mold.
   Dr. McMahon says that each of the lab tests he uses is approved by CLIA.
   •   It is my opinion that the statement by Dr. McMahon that each of the lab tests he uses is
       approved by CLIA is false. CLIA (the federal Clinical Laboratory Improvement Act)


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       simply is not involved at all in the “approval” of laboratory tests. Any expert in laboratory
       medicine also knows that even the FDA does not approve laboratory tests. The FDA
       clears test kits that are sold for diagnostic use in more than one state. In contrast, most
       of the tests used by Dr. McMahon to make his diagnosis of CIRS are not FDA cleared
       but are “home brew” tests developed by and using in an individual laboratory and thus
       are not subject to oversight by any governmental agency.
   Dr. McMahon relies on the Dr. Shoemaker’s interpretation of HLA-Dr (a set immune
   response gene loci) of Ms. Beckemeyer to categorize her as susceptible to and having
   CIRS.
   •   It is my opinion that Dr. Shoemaker and McMahon’s purported HLA-Dr typing
       categorization as to susceptibility to mold related or other processes is completely
       baseless and has no dipositive value.
   Dr. McMahon, in his report, says that Ms. Beckemeyer’s NeuroQuant® test of 6.13.17
   shows an “increase in the forebrain parenchyma size and atrophy of the caudate nucleus
   and pallidum. Her mold scoring would be 4 of a possible 8 which is a positive result for
   structural brain damage caused by CIRS”.

   Assessment and Opinion:
   •   It is my opinion that the NeuroQuant® test is not generally accepted as a valid measure
       of mold exposure or mold related CNS effects. The (mis)use of this test in making the
       pseudo-diagnosis of CIRS is another misadventure popularized by Dr. Richie
       Shoemaker much like his misuse of HLA-Dr typing. Parenthetically, the official results of
       Ms. Beckemeyer 6.13.17 NeuroQuant® test for accepted measurements show readings
       within the age-matched reference charts, e.g. a normal result.
   •   Notably, neither the Institute of Medicine nor the World Health Organization found
       evidence linking exposure to mold or dampness with any neurological adverse end
       points. (Attachments “B” and “D”). Dr. Paul Lees-Haley nicely summarized the issue
       of Mold Neurotoxicity in an article entitled Mold Neurotoxicity: Validity, Reliability and
       Baloney http://users.physics.harvard.edu/~wilson/soundscience/mold/lees.html.
   Drs. McMahan alleges that Ms. Beckemeyer’s serum MSH level is low at 5 pg/mL Dr.
   McMahon alleges that her “low” MSH is part of CIRS. Dr. McMahan and Dr. Shoemaker
   claim that lower limit of the reference value for MSH is 35 pg/mL even though the
   Laboratory doing the tested reports a reference range of 0 (i.e., below the limit of detection)
   to 100 pg/mL.

   Assessment and Opinion:
      • It is my opinion Ms. Beckemeyer’s serum MSH level is well within the true reference
         range as defined by the laboratory doing the test.
      • It is my opinion that Drs. McMahan and Shoemaker have arbitrarily defined their own
         “normal” values for serum MSH, and in doing so, ignore the reference values as
         defined by the laboratory doing the test. What Drs. McMahon and Shoemaker have
         done is far outside the bounds of generally accepted practice. While they allege that
         the laboratory reference range of 0 (i.e., below the limit of detection) to 100 pg/mL


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             provided by the testing laboratory is wrong, they provide no real data to support their
             belief that the lower limit of the reference value for MSH should be 35 pg/mL.

Dr. McMahon says that there no other single disease other than CIRS that could be responsible for all
of Ms. Beckemeyer’s myriad of complaints.
    • It is my opinion that there is no single true pathophysiologic disease that encompasses all of
       Ms. Beckemeyer’s medical issues; Indeed, Ms. Beckemeyer has a number of distinct medical
       issues, each of which should be addressed individually. Such a set of different disease
       processes is typical for 60-year-old individuals.
    • It is my opinion that Dr. McMahon’s belief that CIRS can explain everything that troubles Ms.
       Beckemeyer (or anyone else) is based on the fact the hypothetical construct of CIRS has no
       boundaries. They use the rubric of CIRS such that it can be applied to any subject to explain
       any set of issues, i.e. is all-inclusive and thus becomes meaningless as a specific disease
       process.


IIIE.     Summary of Opinions.
      •   It is my overarching opinion that Ms. Beckemeyer’s medical complaints and
          issues past or present were or are not due to exposure to molds, bacteria or
          mold/bacteria byproducts that she may have experienced related to the vehicle in
          question..
      •   It is my overarching opinion that the environmental testing of respirable air in Ms.
          Beckemeyer’s vehicle does not give evidence that the level of mold spores
          indicate any form of increased health hazard to Ms. Beckemeyer.
      •   It is my overarching opinion that Dr. Scott McMahon does not practice generally
          accepted medicine in making the pseudo-diagnosis of CIRS. In doing so, he
          follows the fatally flawed practices of Dr. Richie Shoemaker, a former family
          practice physician from Maryland who is a self-styled mold “expert” and who
          withdrew from the practice medicine when under investigation and about to be
          sanctioned by the Maryland Medical Board.
      •   The opinions expressed in this report are more probable than not.
      •   The opinions expressed in the report are based on the data available to me at the
          time of this writing. Should new data become available, I reserve the right to
          modify the opinions in this report based on that new information.


IV.       PUBLICATIONS:
All of my publications are listed in my CV/bibliography (Attachment “A”), are available in the
public domain, and can be accessed via PubMed at https://www.ncbi.nlm.nih.gov/pubmed/ .


V.        PRIOR TESTIMONY
A list of my testimony in the past four years is provided as Attachment “R”.

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VI.     FEES
My compensation for preparation of this report is at a rate of $720/hour. My fees are $720/hour
for consultation time and $900/hour for testimony time.


Respectfully submitted,




                                                             November 22, 2018
      Andrew Saxon, MD                                             Date




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